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                                                                 Affirmed.

         Supreme Court of California
Kirk CRAWFORD et al., Plaintiffs and Appellants,                 Opinion, 38 Cal.Rptr.3d 787, superseded.
                    v.
                                                                              West Headnotes
WEATHER SHIELD MFG., INC., Defendant and
                Appellant.                                  [1] Insurance 217       2268
                   No. S141541.                             217 Insurance
                   July 21, 2008.                              217XVII Coverage––Liability Insurance
                                                                  217XVII(A) In General
Background: Group of homeowners in housing de-
                                                                      217k2267 Insurer's Duty to Indemnify in
velopment brought construction defect action
                                                            General
against developer and window subcontractor, and
                                                                          217k2268 k. In general. Most Cited
developer cross-complained against subcontractor
                                                            Cases
for attorney fees incurred in defending suit and in-
demnification. After jury trial and bench trial, the        Insurance 217        2913
Superior Court, Orange County, Nos. 815154,
815156, 815182, and 816278,Raymond J. Ikola, J.,            217 Insurance
entered judgment for no liability on part of subcon-           217XXIII Duty to Defend
tractor to homeowners, no liability on part of sub-                217k2912 Determination of Duty
contractor to developer for developer's causes of                       217k2913 k. In general; standard. Most
action for breach of contract and express indemnity,        Cited Cases
but providing, by way of declaratory relief, determ-            A liability insurer's duty to indemnify runs only
ination that developer was entitled to be defended          to claims that are actually covered by the policy,
by subcontractor. Subsequently, the court granted           while the duty to defend extends to claims that are
new trial on strict product liability against subcon-       merely potentially covered.
tractor in light of new precedent allowing such
cause of action. Subcontractor appealed and                 [2] Insurance 217       2919
homeowners filed protective cross-appeals. The
                                                            217 Insurance
Court of Appeal affirmed new trial order and judg-
                                                               217XXIII Duty to Defend
ment, and dismissed cross-appeals as moot. Sub-
                                                                    217k2916 Commencement of Duty; Condi-
contractor appealed. The Supreme Court granted re-
                                                            tions Precedent
view, superseding the opinion of the Court of Ap-
                                                                      217k2919 k. Tender or other notice. Most
peal.
                                                            Cited Cases
Holdings: The Supreme Court, Baxter, J., held that:
                                                            Insurance 217        2921
(1) subcontractor's duty to defend applied to suit al-
leging a covered claim, disapproving Regan Roof-            217 Insurance
ing Co. v. Superior Court, 24 Cal.App.4th 425, 29              217XXIII Duty to Defend
Cal.Rptr.2d 413, and                                              217k2920 Scope of Duty
(2) subcontractor's duty to defend arose when ac-                    217k2921 k. In general. Most Cited Cases
tion was brought.
                                                            Insurance 217        2930




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217 Insurance                                                 208 Indemnity
    217XXIII Duty to Defend                                      208II Contractual Indemnity
        217k2930 k. Termination of duty; withdraw-                  208k26 Requisites and Validity of Contracts
al. Most Cited Cases                                                   208k27 k. In general. Most Cited Cases
     A liability insurer's duty to defend is a continu-
ing one, arising on tender of defense and lasting un-         Indemnity 208        31(7)
til the underlying lawsuit is concluded, or until it
                                                              208 Indemnity
has been shown that there is no potential for cover-
                                                                 208II Contractual Indemnity
age.
                                                                     208k31 Construction and Operation of Con-
[3] Indemnity 208        31(7)                                tracts
                                                                         208k31(7) k. Duty to defend. Most Cited
208 Indemnity                                                 Cases
   208II Contractual Indemnity                                     When parties to a contract knowingly bargain
         208k31 Construction and Operation of Con-            for indemnity for the legal defense of third party
tracts                                                        claims, that protection should be afforded. West's
            208k31(7) k. Duty to defend. Most Cited           Ann.Cal.Civ.Code § 2778.
Cases
     Parties to a contract, including a construction          [6] Indemnity 208       30(1)
contract, may assign one party, pursuant to the con-
                                                              208 Indemnity
tract's language, responsibility for the other's legal
                                                                 208II Contractual Indemnity
defense when a third party claim is made against
                                                                     208k26 Requisites and Validity of Contracts
the latter. West's Ann.Cal.Civ.Code § 2772.
                                                                          208k30 Indemnitee's Own Negligence or
[4] Indemnity 208        27                                   Fault
                                                                               208k30(1) k. In general. Most Cited
208 Indemnity                                                 Cases
   208II Contractual Indemnity                                     Parties to a contract may agree that the prom-
      208k26 Requisites and Validity of Contracts             isor's indemnity and/or defense obligations to the
         208k27 k. In general. Most Cited Cases               other party will apply only if the promisor is negli-
                                                              gent, or, conversely, even if the promisor is not
Indemnity 208         31(7)                                   negligent. West's Ann.Cal.Civ.Code § 2778.

208 Indemnity                                                 [7] Indemnity 208       31(7)
    208II Contractual Indemnity
        208k31 Construction and Operation of Con-             208 Indemnity
tracts                                                            208II Contractual Indemnity
            208k31(7) k. Duty to defend. Most Cited                   208k31 Construction and Operation of Con-
Cases                                                         tracts
     Parties to a contract have great freedom to al-                     208k31(7) k. Duty to defend. Most Cited
locate responsibilities for each other's legal defense        Cases
of third party claims as they see fit, subject to pub-             In general, an agreement establishing one
lic policy and established rules of contract inter-           party's responsibility for the other's legal defense
pretation. West's Ann.Cal.Civ.Code § 2778.                    when a third party claim is made against the latter
                                                              is construed under the same rules as govern the in-
[5] Indemnity 208        27                                   terpretation    of     other    contracts.    West's




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Ann.Cal.Civ.Code § 2778.                                     duty of indemnity under separate indemnity clause.
                                                             West's Ann.Cal.Civ.Code § 2778.
[8] Insurance 217       1832(1)                              See Annot., Liability of subcontractor upon bond or
                                                             other agreement indemnifying general contractor
217 Insurance
                                                             against liability for damage to person or property
    217XIII Contracts and Policies
                                                             (1976) 68 A.L.R.3d 7; Cal. Jur. 3d, Contribution
       217XIII(G) Rules of Construction
                                                             and Indemnification, § 36 et seq.; Cal. Transac-
             217k1830 Favoring Insureds or Benefi-
                                                             tions Forms, Transactions, § 20:14 (Thomson/West
ciaries; Disfavoring Insurers
                                                             2003).
               217k1832 Ambiguity, Uncertainty or
                                                             [10] Indemnity 208         31(7)
Conflict
                    217k1832(1) k. In general. Most          208 Indemnity
Cited Cases                                                     208II Contractual Indemnity
     Ambiguities in a policy of insurance are con-                  208k31 Construction and Operation of Con-
strued against the insurer, who generally drafted the        tracts
policy, and who has received premiums to provide                       208k31(7) k. Duty to defend. Most Cited
the agreed protection.                                       Cases

[9] Indemnity 208       31(7)                                Indemnity 208        43

208 Indemnity                                                208 Indemnity
   208II Contractual Indemnity                                  208II Contractual Indemnity
       208k31 Construction and Operation of Con-                     208k43 k. Accrual of duty to defend. Most
tracts                                                       Cited Cases
          208k31(7) k. Duty to defend. Most Cited                A contractual promise to “defend” another
Cases                                                        against specified claims is a promise to render, or
                                                             fund, the service of providing a defense on the
Indemnity 208        33(5)
                                                             promisee's behalf, a duty that necessarily arises as
208 Indemnity                                                soon as such claims are made against the promisee,
    208II Contractual Indemnity                              and may continue until they have been resolved.
       208k33 Particular Cases and Issues                    West's Ann.Cal.Civ.Code § 2778(4).
           208k33(5) k. Contractors, subcontractors,
                                                             [11] Indemnity 208        43
and owners. Most Cited Cases
     Under contract in which subcontractor agreed            208 Indemnity
“to defend any suit or action” against developer                208II Contractual Indemnity
“founded upon” any claim “growing out of the exe-                    208k43 k. Accrual of duty to defend. Most
cution of the work,” subcontractor was required to           Cited Cases
provide a defense to homeowners' construction de-                A contractual duty to defend another against
fect action against developer, insofar as that suit          specified claims necessarily arises as soon as such
was founded upon claims alleging damage or loss              claims are made against the promisee, and may
arising from subcontractor's negligent role in the           continue until they have been resolved. West's
project, even though it was later determined in the          Ann.Cal.Civ.Code § 2778(4).
same litigation that subcontractor was not negli-
gent; clause creating duty to defend covered any             [12] Indemnity 208        31(7)
claim that alleged facts that would give rise to a
                                                             208 Indemnity




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   208II Contractual Indemnity                              tracts
       208k31 Construction and Operation of Con-                       208k31(7) k. Duty to defend. Most Cited
tracts                                                      Cases
          208k31(7) k. Duty to defend. Most Cited               Statute specifying an indemnitor's duty “to de-
Cases                                                       fend” the indemnitee upon the latter's request
     A contractual duty to defend another is differ-        places in every indemnity contract, unless the
ent from a duty expressed simply as an obligation           agreement provides otherwise, a duty to assume the
to pay another, after the fact, for defense costs the       indemnitee's defense, if tendered, against all claims
other has incurred in defending itself. West's              embraced      by      the     indemnity.       West's
Ann.Cal.Civ.Code § 2778(3, 4).                              Ann.Cal.Civ.Code § 2778(4).

[13] Indemnity 208         85                               [16] Indemnity 208        43

208 Indemnity                                               208 Indemnity
    208IV Conclusiveness of Former Adjudication                 208II Contractual Indemnity
       208k85 k. In general. Most Cited Cases                        208k43 k. Accrual of duty to defend. Most
     If a contractual indemnitor declines the indem-        Cited Cases
nitee's tender of defense of a third party claim                 The default statutory duty to defend an indem-
against the latter, the third party's later judgment        nitee against all claims embraced by the indemnity
against the indemnitee may be conclusive evidence,          arises immediately upon a proper tender of defense
against the indemnitor, of the indemnitee's liability       by the indemnitee, and thus before the litigation to
to the third party, and the amount thereof, while the       be defended has determined whether indemnity is
indemnitee's good faith settlement of the third party       actually owed, regardless of the eventual outcome
claim may be presumptive evidence against the in-           of that litigation. West's Ann.Cal.Civ.Code § 2778
demnitor on that issue. West's Ann.Cal.Civ.Code §           (4).
2778(5).
                                                            [17] Indemnity 208        31(7)
[14] Indemnity 208         42
                                                            208 Indemnity
208 Indemnity                                                  208II Contractual Indemnity
   208II Contractual Indemnity                                      208k31 Construction and Operation of Con-
         208k42 k. Accrual of liability. Most Cited         tracts
Cases                                                                  208k31(7) k. Duty to defend. Most Cited
     Where an indemnitor has breached its obliga-           Cases
tion to accept and assume the indemnitee's active                Claims embraced by an indemnity, as to which
defense against claims encompassed by the indem-            the indemnitor's default statutory duty to defend is
nity provision, an indemnitee who was thereby               owed, include those which, at the time of tender, al-
forced, against its wishes, to defend itself is entitled    lege facts that would give rise to a duty of indem-
to reimbursement of the costs of doing so. West's           nity, rather than only those claims as to which in-
Ann.Cal.Civ.Code § 2778(4).                                 demnity is actually owed. West's Ann.Cal.Civ.Code
                                                            § 2778(4).
[15] Indemnity 208         31(7)
                                                            [18] Indemnity 208        43
208 Indemnity
   208II Contractual Indemnity                              208 Indemnity
       208k31 Construction and Operation of Con-               208II Contractual Indemnity




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         208k43 k. Accrual of duty to defend. Most                    228k181(15) Particular Cases
Cited Cases                                                               228k181(19) k. Contract cases in gen-
     Under contract in which subcontractor agreed           eral. Most Cited Cases
“to defend any suit or action” against developer                 If any party moves for summary judgment or
“founded upon” any claim “growing out of the exe-           adjudication with respect to a contractual duty to
cution of the work,” subcontractor's obligation to          defend against litigation still in progress, the court
provide a defense to homeowners' construction de-           may resolve legal issues then ripe for adjudication,
fect action against developer arose as soon as that         such as whether any of the contracts at issue in-
action was brought, regardless of the later determ-         clude a duty to defend, and, if so, whether the un-
ination in the same litigation that subcontractor was       derlying suit or proceeding as to which a defense is
not negligent; duty expressed by subcontractor's            sought falls within the scope of any of the parties'
promise to defend did not require a final determina-        contractual      duty     to       defend.      West's
tion of the issues. West's Ann.Cal.Civ.Code § 2778.         Ann.Cal.Civ.Code § 2778.

[19] Indemnity 208        33(5)                             [22] Indemnity 208         90

208 Indemnity                                               208 Indemnity
   208II Contractual Indemnity                                 208V Actions
      208k33 Particular Cases and Issues                           208k90 k. In general. Most Cited Cases
          208k33(5) k. Contractors, subcontractors,             If a court finds that an ongoing contractual duty
and owners. Most Cited Cases                                to defend is owed by one or more parties, but the
    Clause in subcontractor agreement requiring             affected parties, acting in good faith, then cannot
subcontractor to indemnify contractor “against”             agree on how such a defense should be provided or
defined claims clearly indicated that the indemnity         financed, the court may, in its discretion, permit the
obligation would apply only if contractor ultimately        underlying litigation to proceed with counsel
incurred such a legal consequence as a result of            chosen and paid by the party to whom the duty is
covered claims being resolved against it. West's            owed, subject to a later determination of how dam-
Ann.Cal.Civ.Code § 2778.                                    ages for breach of the duty to defend should be ap-
                                                            portioned among the breaching parties. West's
[20] Indemnity 208        90                                Ann.Cal.Civ.Code § 2778.

208 Indemnity                                               [23] Indemnity 208         31(1)
   208V Actions
      208k90 k. In general. Most Cited Cases                208 Indemnity
    When a party sues one or more other persons,               208II Contractual Indemnity
seeking to establish a contractual right to a defense               208k31 Construction and Operation of Con-
against litigation not yet concluded, these issues          tracts
may, if the parties agree, be deferred until the un-                  208k31(1) k. In general. Most Cited Cases
derlying     litigation   is    complete.      West's            Statute listing rules for interpretation of indem-
Ann.Cal.Civ.Code § 2778.                                    nity agreements is not confined in its application to
                                                            insurance agreements. West's Ann.Cal.Civ.Code §
[21] Judgment 228        181(19)                            2778.

228 Judgment                                                ***724 Sedgwick, Detert, Moran & Arnold,
   228V On Motion or Summary Proceeding                     Christina J. Imre, Stephanie Rae Williams, Orly
      228k181 Grounds for Summary Judgment                  Degani and Maureen M. Home, Los Angeles, for




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Defendant and Appellant.                                    Inc., as Amicus Curiae on behalf of Plaintiffs and
                                                            Appellants.
Summers & Shives and Robert V. Closson, San
Diego, for California Framing Contractor's Associ-          Newmeyer & Dillion, Thomas F. Newmeyer, Jay B.
ation as Amicus Curiae on behalf of Defendant and           Freedman and Michael B. McClellan, Newport
Appellant.                                                  Beach, for Standard Pacific Corp., KB Home, The
                                                            Irvine Company, Alexander Communities, Inc.,
Crawford & Bangs, E. Scott Holbrook, Jr., Covina,           Taylor Woodrow Homes, Inc., and William Lyon
and Joshua J. Wes, Los Angeles, for American Sub-           Homes, Inc., as Amici Curiae on behalf of Plaintiffs
contractors Association as Amicus Curiae on behalf          and Appellants.
of Defendant and Appellant.

Horvitz & Levy, Lisa Perrochet and John A.                  BAXTER, J.
Taylor, Jr., Encino, for California Professional As-             **427 [1][2] *547 Standard comprehensive li-
sociation of Specialty Contractors, Pacific Rim             ability insurance policies provide that the insurer
Drywall Association and Southern California Con-            must both indemnify and defend the insured against
tractors Association as Amici Curiae on behalf of           claims within the scope of the policy coverage. The
Defendant and Appellant.                                    insurer's duty to defend is broader than its duty to
                                                            indemnify. The latter duty runs only to claims that
McAtee Harmeyer and Jeff G. Harmeyer, San                   are actually covered by the policy, while the duty to
Diego, for Jeld–Wen, Inc., as Amicus Curiae on be-          defend extends to claims that are merely potentially
half of Defendant and Appellant.                            covered. (E.g., Buss v. Superior Court (1997) 16
                                                            Cal.4th 35, 45–46, 65 Cal.Rptr.2d 366, 939 P.2d
Stephan, Oringher, Richman, Theodora & Miller,
                                                            766 (Buss); Montrose Chemical Corp. v. Superior
Theodora Oringher Miller & Richman, Harry W.R.
                                                            Court (1993) 6 Cal.4th 287, 295, 24 Cal.Rptr.2d
Chamberlain, Los Angeles, and Robert M. Dato for
                                                            467, 861 P.2d 1153.) “The [insurer's] defense duty
American Architectural Manufacturers Association
                                                            is a continuing one, arising on tender of defense
as Amicus Curiae on behalf of Defendant and Ap-
                                                            and lasting until the underlying lawsuit***725 is
pellant.
                                                            concluded [citation], or until it has been shown that
Anderson & Kriger, Clayton Anderson, La Mesa,               there is no potential for coverage....” (Montrose,
Philip Y. Kim, Santa Ana; and Richard H. Benes,             supra, at p. 295, 24 Cal.Rptr.2d 467, 861 P.2d
San Diego, for Plaintiff and Appellant Kirk Craw-           1153.)
ford.
                                                                 Here, however, we address issues concerning
Kabateck & Garris, Kabateck Brown Kellner, Brian            the contractual duty to defend in a noninsurance
S. Kabateck, Alfredo Torrijos and Richard L. Kell-          context. We consider whether, by their particular
ner, Los Angeles, for Plaintiff and Appellant Parviz        terms, the provisions of a pre–2006 residential con-
Alai.                                                       struction subcontract obliged the subcontractor to
                                                            defend its indemnitee—the developer-builder of the
Cooper, White & Cooper, Kathleen F. Carpenter,              project—in lawsuits brought against both parties,
Walnut Creek, and Carol J. Stair, San Francisco, for        insofar as the plaintiffs' complaints alleged con-
California Building Industry Association as Amicus          struction defects arising from the subcontractor's
Curiae on behalf of Plaintiffs and Appellants.              negligence, even though (1) a jury ultimately found
                                                            that the subcontractor was not negligent, and (2) the
Green & Hall, Brian C. Plante and Samuel M.                 parties have accepted an interpretation of the sub-
Danskin, Santa Ana, for Capital Pacific Holdings,           contract that gave the builder no right of indemnity




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unless the subcontractor was negligent. We con-             had been drafted by JMP and were identical on the
clude that the answer is yes. We will therefore af-         point—the subcontractors owed JMP duties of in-
firm the judgment of the Court of Appeal.                   demnity and defense against the homeowners' com-
                                                            plaints. The cross-complaints sought declaratory re-
 FACTS AND PROCEDURAL BACKGROUND                            lief with respect to JMP's alleged indemnity and de-
     The basic facts are not in dispute. J.M. Peters                      FN2
                                                            fense rights.
Co. (JMP) was the developer, builder, and general
contractor of a large Huntington Beach residential                   FN2. JMP's cross-complaints alleged that
project. Weather Shield Manufacturing Co., Inc.                      the cross-defendant subcontractors had a
(Weather Shield), contracted with JMP to manufac-                    “present” duty to provide, and JMP had a
ture and supply wood-framed windows for the                          “present” right to receive, a contractual de-
project. In the contract, Weather Shield promised                    fense. Each cross-complaint also recited
(1) “to indemnify and save [JMP] harmless against                    that “[b]y way of this Cross–Complaint,
all claims for damages ... loss, ... and/or theft ...                [JMP] hereby tenders the defense of this
growing *548 out of the execution of [Weather                        action to the Cross–Defendants, and each
Shield's] work,” and (2) “at [its] own expense to                    of them, pursuant to the applicable subcon-
defend any suit or action brought against [JMP]                      tracts. [JMP] is informed and believed and
founded upon the claim of such damage[,] ... loss or                 based      thereon    alleges     that    the
theft.” (Italics added.)                                             Cross–Defendants, and each of them have
                                                                     and/or will reject, ignore, or fail to prop-
      In September and October 1999, 220 owners of                   erly accept the tender of defense.” The re-
122 finished homes in the project sued JMP,                          cord is silent as to whether JMP had previ-
Weather Shield, and other participants in the                        ously tendered defense of the homeowners'
project's construction. The defendants included                      actions to the cross-defendant subcontract-
Darrow the Framing Corporation (Darrow), the                         ors, or any of them. Weather Shield does
project's principal subcontractor, whose responsib-                  not urge on appeal that it was absolved of
ilities included framing the structures and installing               any duty to defend by reason of JMP's fail-
the windows. The complaints alleged numerous                         ure to timely tender the defense of the
construction defects, including electrical, plumbing,                homeowners' actions.
roofing, chimney, framing, and other structural
problems. As relevant here, they also asserted that,             ***726 JMP, and all the subcontractors except
because of improper design, manufacture, and in-            Weather Shield and Darrow, settled before trial.
stallation, windows**428 in the homes, including            The “sliding scale” settlement agreement provided
those supplied by Weather Shield, leaked and                the homeowners a minimum payment of $2.55 mil-
fogged, causing extensive damage. Theories of neg-          lion, and guaranteed an additional sum of $1.45
ligence, strict liability, breach of warranty, and          million against any recovery from the nonsettling
                                   FN1
breach of contract were set forth.                          subcontractors. The settling defendants also agreed
                                                            to assist the homeowners in prosecuting their
         FN1. The cases were consolidated for pre-          claims against the nonsettling parties. JMP and the
         trial and trial purposes.                          settling subcontractors mutually released all claims,
                                                            demands, and liabilities among themselves. All
    In April 2000, JMP cross-complained against
                                                            complaints and cross-complaints were dismissed
Weather Shield, Darrow, and all the other project
                                                            except as to Weather Shield and Darrow.
subcontractors sued by the homeowners. The cross-
complaints asserted, among other things, that under             *549 In July 2002, during final pretrial pro-
the pertinent subcontract provisions—all of which           ceedings, Weather Shield moved to dismiss the




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homeowners' strict liability causes of action. The          regardless of whether **429 Weather Shield was
motion cited then extant case law holding that a            ultimately found negligent.
subcontractor hired by a developer—even a subcon-
tractor that supplied a component product rather                 JMP presented evidence that it had incurred
than a service—could not be strictly liable for de-         $375,069 in attorney fees to defend the homeown-
fects in mass-produced homes, unless the subcon-            ers' claims, and that 70 percent of the homeowner
tractor also owned or controlled the housing devel-         settlement amount was attributable to the window
opment. (See, e.g., Casey v. Overhead Door Corp.            problems. JMP therefore urged that, under their
(1999) 74 Cal.App.4th 112, 119–120, 87                      subcontracts, Weather Shield and Darrow were to-
Cal.Rptr.2d 603 (Casey); La Jolla Village                   gether liable for 70 percent of JMP's defense fees,
Homeowners' Assn. v. Superior Court (1989) 212              or $262,548. The ***727 court apportioned this
Cal.App.3d 1131, 1146, 261 Cal.Rptr. 146 (La                amount equally between Darrow and Weather
Jolla Village ).) The court granted the motion, sub-        Shield, and therefore awarded JMP $131,274 in
ject to a reevaluation of prejudice in the event of an      damages against Weather Shield. The court also
intervening change in the law.                              found Weather Shield contractually liable to JMP,
                                                            as the prevailing party on JMP's cross-complaint,
     The window leak and framing issues went to             for $46,734 in attorney fees incurred by JMP to
trial against Weather Shield and Darrow on the re-          prosecute the cross-action.
maining theories of negligence and breach of war-
ranty. In October 2002, the jury returned general                *550 Meanwhile, in December 2002, this court
verdicts against Darrow and in favor of Weather             held in Jimenez v. Superior Court (2002) 29 Cal.4th
Shield. The jury awarded the homeowners approx-             473, 127 Cal.Rptr.2d 614, 58 P.3d 450 (Jimenez )
imately $1 million in damages against Darrow. Fol-          that, contrary to the teaching of such cases as Ca-
lowing the jury verdict, Darrow settled all the com-        sey, supra, 74 Cal.App.4th 112, 87 Cal.Rptr.2d 603,
plaints against it.                                         and La Jolla Village, supra, 212 Cal.App.3d 1131,
                                                            261 Cal.Rptr. 146, the manufacturer or supplier of a
     Thereafter, in March 2003, JMP's cross-                component part installed in a mass-produced home
complaint against Weather Shield was separately             may be held strictly liable when a defect in the
tried to the court. JMP sought both (1) express in-         component causes damage to other parts of the
demnity for amounts paid to the homeowners in set-          structure. (Jimenez, supra, at p. 484, 127
tlement, and (2) under the duty-to-defend provi-            Cal.Rptr.2d 614, 58 P.3d 450.)
sions of Weather Shield's subcontract, attorney fees
and expenses incurred by JMP in defending itself                Following entry of judgment in this case in
against the homeowners' suit.                               March 2003, the homeowners moved for a judg-
                                                            ment notwithstanding the verdict (judgment NOV) (
     The trial court ruled that the subcontract's           Code Civ. Proc., §§ 629, 659) and a new trial (id.,
terms obliged Weather Shield to indemnify JMP for           §§ 657, 659) against Weather Shield. Among other
amounts paid to the homeowners only if Weather              things, the homeowners asserted that, under Jime-
Shield was found negligent. Thus, the court determ-         nez, they were entitled to try their previously dis-
ined, the jury's verdict that Weather Shield was not        missed strict liability causes of action. In May
negligent absolved Weather Shield of indemnity li-          2003, the court denied the motion for a judgment
ability in this case. On the other hand, the court          NOV, but granted a new trial against Weather
concluded, the subcontract did give Weather Shield          Shield on the issue of strict liability.
responsibility for JMP's legal defense against the
homeowners' claims, insofar as those claims con-                 Weather Shield appealed (1) the new trial or-
cerned the windows supplied by Weather Shield,              der, and (2) the declaratory relief judgment insofar




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as it required Weather Shield to reimburse JMP's            both the new-trial and defense-cost issues. We
expense of defending the homeowners' action and             granted review, limited to the following issue: Did
prosecuting JMP's cross-complaint. Two of the               a contract under which a subcontractor agreed “to
groups of homeowner plaintiffs filed protective             defend any suit or action” against a developer
cross-appeals from the judgment against them, and           “founded ***728 upon” any claim “growing out of
in Weather Shield's favor, on the construction-de-          the execution of the work” require the subcontract-
fect claims. JMP did not appeal the order absolving         or to provide a defense to a suit against the de-
Weather Shield from contractual indemnity liability         veloper even if the subcontractor**430 was not
                                             FN3                       FN4
for amounts paid by JMP to the homeowners.                  negligent?      We turn to that issue.

        FN3. We were informed by the parties                         FN4. Subsequent to our grant of review, an
        that, following the trial court judgment,                    issue arose whether, despite our limitation
        JMP assigned all its rights thereunder to                    of issues, the pendency of review pre-
        the homeowners. The homeowners then                          cluded further proceedings in the trial
        defended JMP's defense-cost award in the                     court under the new trial order, the propri-
        Court of Appeal. In this court as well, the                  ety of which order we did not intend to ad-
        homeowners have briefed the defense-cost                     dress. Concluding that there was no reason
        issue as assignees of JMP's rights under the                 to delay the homeowners' strict-liability
        defense-cost award.                                          trial while we considered the defense-cost
                                                                     issue, we therefore dismissed review with
     In a divided decision, the Court of Appeal af-                  respect only to the order granting a new
firmed the orders and judgments challenged by                        trial on that issue, as affirmed by the Court
Weather Shield, and dismissed the cross-appeals as                   of Appeal. We directed the Court of Ap-
moot. On the issue of Weather Shield's liability for                 peal to issue a partial remittitur in accord-
JMP's defense, regardless of its own negligence, the                 ance with the partial dismissal order.
majority reasoned, in essence, that Weather Shield's
promise “to defend” JMP against suits founded                                   DISCUSSION
upon claims arising out of the execution of Weather              [3] Parties to a contract, including a construc-
Shield's work necessarily contemplated an immedi-           tion contract, may define therein their duties toward
ate duty to provide a service, which duty arose at          one another in the event of a third party claim
the time such a suit was brought and a defense was          against one or both arising out of their relationship.
therefore needed. Thus, the majority concluded, the         Terms of this kind may require one party to indem-
duty could not depend upon the outcome of issues            nify the other, under specified circumstances, for
to be litigated in the very action Weather Shield           moneys paid or expenses incurred by the latter as a
was obliged to defend.                                      result of such claims. (See Civ.Code, § 2772
                                                            [“Indemnity is a contract by which one engages to
     The concurring and dissenting opinion argued           save another from a legal consequence of the con-
that the contract language did not compel the ma-           duct of one of the parties, or of some other per-
jority's interpretation of the duty to defend.                       FN5
                                                            son.”].)       They may also assign one party, pur-
Moreover, the concurring and dissenting opinion             suant to the contract's language, responsibility for
urged, policy concerns weigh against allowing a             the other's legal defense when a third party claim is
builder or developer with superior bargaining               made against the latter. (See Mel Clayton Ford v.
power to impose contractual defense obligations on          Ford Motor Co. (2002) 104 Cal.App.4th 46, 49, 55,
a nonnegligent subcontractor.                               127 Cal.Rptr.2d 759 (Mel Clayton Ford ).)

    *551 Weather Shield sought review, raising                       FN5. All further unlabeled statutory refer-




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         ences are to the Civil Code.                       construed against the insurer, who generally drafted
                                                            the policy, and who has received premiums to
     [4][5][6] As befits the contractual nature of          provide the agreed protection. (See, e.g., Buss,
such arrangements, but subject to public policy and         supra, 16 Cal.4th 35, 47–48, 65 Cal.Rptr.2d 366,
established rules of contract interpretation, the           939 P.2d 766; La Jolla Beach & Tennis Club, Inc.
parties have great freedom to allocate such respons-        v. Industrial Indemnity Co. (1994) 9 Cal.4th 27,
ibilities as they see fit. (E.L. White, Inc. v. City of     37–38, 36 Cal.Rptr.2d 100, 884 P.2d 1048.) In non-
Huntington Beach (1978) 21 Cal.3d 497, 507, 146             insurance contexts, however, it is the indemnitee
Cal.Rptr. 614, 579 P.2d 505 (E.L.White, Inc.); Hep-         who may often have the superior bargaining power,
pler v. J.M. Peters Co. (1999) 73 Cal.App.4th 1265,         and who may use this power unfairly to shift to an-
1276–1277, 87 Cal.Rptr.2d 497 (Heppler ).) “When            other a disproportionate share of the financial con-
the parties knowingly bargain for the protection at         sequences of its own legal fault. (E.g., Goldman v.
issue, the protection should be afforded.” (Ross-           Ecco–Phoenix Elec. Corp. (1964) 62 Cal.2d 40, 49,
moor Sanitation, Inc. v. Pylon, Inc. (1975) 13              41 Cal.Rptr. 73, 396 P.2d 377 (Goldman ); see
Cal.3d 622, 633, 119 Cal.Rptr. 449, 532 P.2d 97 (           Regan Roofing Co. v. Superior Court (1994) 24
Rossmoor ); see Heppler, supra, at p. 1277, 87              Cal.App.4th 425, 436, 29 Cal.Rptr.2d 413 (Regan
Cal.Rptr.2d 497.) Hence, they may agree that the            Roofing ).)
promisor's indemnity and/or defense obligations
will apply only if the promisor was negligent, or,               **431 This public policy concern influences to
conversely, even if the promisor was not negligent.         some degree the manner in which noninsurance in-
(Heppler, supra, at p. 1277, 87 Cal.Rptr.2d 497;            demnity agreements are construed. For example, it
Continental Heller Corp. v. Amtech Mechanical               has been said that if one seeks, in a noninsurance
Services, Inc. (1997) 53 Cal.App.4th 500, 505, 61           agreement, to be indemnified for his or her own
Cal.Rptr.2d 668 (Continental Heller); *552Peter             active negligence, or regardless of the indemnitor's
Culley & Associates v. Superior Court (1992) 10             fault—protections beyond those afforded by the
Cal.App.4th 1484, 1492, 13 Cal.Rptr.2d 624 (Peter           doctrines of implied or equitable indem-
Culley & Associates ).)                                     nity—language on the point must be particularly
                                                            clear and explicit, and will be construed strictly
     [7] In general, such an agreement is construed         against the indemnitee. (E.g., E.L. White, Inc.,
under the same rules as govern the interpretation of        supra, 21 Cal.3d 497, 507, 146 Cal.Rptr. 614, 579
other contracts. Effect is to be given to the parties'      P.2d 505; Rossmoor, supra, 13 Cal.3d 622, 628,
mutual intent (§ 1636), as ascertained from the con-        119 Cal.Rptr. 449, 532 P.2d 97; Goldman, supra,
tract's language if it is clear and explicit (§ 1638).      62 Cal.2d 40, 44, 41 Cal.Rptr. 73, 396 P.2d 377;
Unless the parties have indicated a special meaning,        Centex Golden, supra, 78 Cal.App.4th 992, 998, 93
the contract's words are to be understood in their          Cal.Rptr.2d 259; Heppler, supra, 73 Cal.App.4th
ordinary and popular sense. (§ 1644; Continental            1265, 1278, 87 Cal.Rptr.2d 497.)
Heller, supra, 53 Cal.App.4th 500, 504, 61
Cal.Rptr.2d 668; accord, Centex Golden Construc-                 For similar public policy reasons, statutory law
tion Co. v. Dale Tile Co. (2000) 78 Cal.App.4th             imposes some absolute limits on the enforceability
992, 996–997, 93 Cal.Rptr.2d 259 (Centex Golden             of noninsurance indemnity agreements in the con-
).)                                                         struction industry. At the time Weather Shield con-
                                                            tracted with JMP, a party to a construction contract
     [8] Though indemnity agreements resemble li-           could not validly agree to indemnify the promisee
ability insurance policies, rules for ***729 inter-         for the latter's sole negligence or willful miscon-
preting the two classes of contracts do differ signi-       duct. (§ 2782, subd. (a); see also § 1668.)
ficantly. Ambiguities in a policy of insurance are




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     *553 Finally, section 2778, unchanged since            such a suit even if it was later determined, as a res-
1872, sets forth general rules for the interpretation       ult of this very litigation, that Weather Shield was
of indemnity contracts, “unless a contrary intention        not negligent.
appears.” If not forbidden by other, more specific,
statutes, the obligations set forth in section 2778              We focus on the particular language of the sub-
thus are deemed included in every indemnity agree-          contract. Its relevant terms imposed two distinct ob-
ment unless the parties indicate otherwise. Several         ligations on Weather Shield. First, Weather Shield
subdivisions of this statute touch specifically on the      agreed “to indemnify and save [JMP] harmless
indemnitor's obligations with respect to the indem-         against all claims for damages to persons or to
nitee's defense against third party claims.                 property and claims for loss, damage and/or theft ...
                                                            growing out of the execution of [Weather Shield's]
     In this regard, the statute first provides that a      work.” Second, Weather Shield made a separate
promise of indemnity against claims, demands, or            and specific promise “at [its] own expense to de-
liability “embraces the costs of defense against such       fend any suit or action brought against [JMP] foun-
claims, demands, or liability” insofar as such costs        ded upon the claim of such damage ... loss, ... or
are incurred reasonably and in good faith. (§ 2778,         theft.” (Italics added.)
subd. 3, italics added.) Second, the section specifies
that the indemnitor “is bound, on request of the                  [10][11] A contractual promise to “defend” an-
[indemnitee], to defend actions or proceedings              other against specified claims clearly connotes an
brought against the [indemnitee] in respect to the          obligation of active responsibility, from the outset,
matters embraced by the indemnity,” though the in-          for the *554 promisee's defense against such
demnitee may choose to conduct the defense. (Id.,           claims. The duty promised is to render, or fund, the
subd. 4, italics added.) Third, the statute declares        service of providing a defense on the promisee's be-
that if the indemnitor declines the indemnitee's            half**432 —a duty that necessarily arises as soon
tender of defense, “a recovery against the                  as such claims are made against the promisee, and
[indemnitee] suffered by him in good faith, is con-         may continue until they have been resolved. This is
clusive in his favor against the [indemnitor].” (Id.,       the common understanding of the word “defend” as
subd. 5.) On the other hand, section 2778 provides,         it is used in legal parlance. (See, e.g., Black's Law
if the indemnitor got no reasonable notice of the ac-       Dict. (8th ed. 2004) p. 450, col. 2 [“2. To represent
tion or was not allowed to control the indemnitee's         (someone) as an attorney ...”]; Merriam Webster's
defense, recovery by the third party against the in-        Collegiate Dict. (11th ed. 2004) p. 326, col. 1 [“3:
demnitee is only presumptive ***730 evidence                to act as attorney for ...”]; Random House Web-
against the indemnitor. (Id., subd. 6.)                     ster's College Dict. (2d rev. ed. 2001) p. 348, col. 2
                                                            [“4. to serve as attorney for (a defendant) ...”];
     [9] With these principles in mind, we examine          American Heritage Dict. (4th ed. 2000) p. 475, col.
the pertinent terms of Weather Shield's subcontract         2 [“4. Law a. To represent (a defendant) in a civil
with JMP. We agree with the Court of Appeal ma-             or criminal action ...”].)
jority that, even if strictly construed in Weather
Shield's favor, these provisions expressly, and un-              [12][13] A duty to defend another, stated in
ambiguously, obligated Weather Shield to defend,            that way, is thus different from a duty expressed
from the outset, any suit against JMP insofar as that       simply as an obligation to pay another, after the
suit was “founded upon” claims alleging damage or           fact, for defense costs the other has incurred in de-
loss arising from Weather Shield's negligent role in        fending itself. Section 2778, the statute governing
the Huntington Beach residential project. Weather           the construction of all indemnity agreements,
Shield thus had a contractual obligation to defend          makes the distinction clear. On the one hand, as
                                                            noted above, the section specifies that a basic con-




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tractual indemnity against particular claims, de-                    to assume JMP's defense, and, having
mands, or liabilities “embraces the costs of de-                     failed to do so, to reimburse JMP after the
fense” against such claims, demands, or liabilities. (               fact for the latter's actual defense costs, re-
Id., subd. 3.) On the other hand, the statute separ-                 gardless of Weather Shield's liability to in-
ately specifies the indemnitor's duty actually “to de-               demnify JMP for amounts paid to the
fend,” upon the indemnitee's request, proceedings                    homeowners in settlement.
against the latter “in respect to the matters em-
braced by the indemnity,” though “the person in-                 ***731 [14] *555 By virtue of these statutory
demnified has the right to conduct such defenses if         provisions, the case law has long confirmed that,
he chooses to do so.” (Id., subd. 4.) Finally, section      unless the parties' agreement expressly provides
2778 sets forth how the indemnitor's obligations            otherwise, a contractual indemnitor has the obliga-
will be affected if the indemnitor fails to accept an       tion, upon proper tender by the indemnitee, to ac-
indemnitee's tender of defense or, alternatively, if        cept and assume the indemnitee's active defense
the indemnitor is denied an opportunity to assume           against claims encompassed by the indemnity pro-
                                             FN6            vision. Where the indemnitor has breached this ob-
and control the defense. (Id., subds. 5, 6.)
                                                            ligation, an indemnitee who was thereby forced,
         FN6. Pursuant to subdivision 5 of section          against its wishes, to defend itself is entitled to re-
         2778, if a contractual indemnitor declines         imbursement of the costs of doing so.
         the indemnitee's tender of defense of a
         third party claim against the latter, the               Thus, in Safeway Stores, Inc. v. Massachusetts
         third party's later judgment against the in-       Bonding & Ins. Co. (1962) 202 Cal.App.2d 99, 20
         demnitee may be conclusive evidence,               Cal.Rptr. 820 (Safeway Stores ), one King under-
         against the indemnitor, of the indemnitee's        took, by written agreement, to act as general con-
         liability to the third party, and the amount       tractor in the construction of a new Safeway store.
         thereof, while the indemnitee's good faith         The agreement included King's obligation to in-
         settlement of the third party claim may be         demnify Safeway against any claims, demands, or
         presumptive evidence against the indem-            suits for damage, loss, or injury “ ‘result [ing] from
         nitor on that issue. (See, e.g., Isaacson v.       or occur[ring] in connection with the performance
         California Ins. Guarantee Assn. (1988) 44          of [the] contract.’ ” (Id., at p. 105, 20 Cal.Rptr.
         Cal.3d 775, 791, 244 Cal.Rptr. 655, 750            820.) Construction workers employed by King sued
         P.2d 297; Peter Culley & Associates,               Safeway for injuries they sustained when recently
         supra, 10 Cal.App.4th 1484, 1495–1497,             installed roof trusses collapsed. The workers al-
         13 Cal.Rptr.2d 624.) In other words, a con-        leged that Safeway had negligently permitted the
         tractual indemnitor's failure to assume the        installation of trusses it knew to be defective. King
         indemnitee's defense and, with it, control         offered Safeway a defense, which Safeway initially
         of the underlying litigation may restrict the      accepted. However, it thereafter became apparent
         indemnitor's later ability to separately litig-    that the attorney furnished by King was serving
         ate issues pertaining to its own indemnity         King's conflicting interests; in discussions between
         liability. In this case, as indicated above,       the parties, King indicated he would deny indem-
         no issue is presented of the effect of JMP's       nity liability if Safeway was found **433 negligent.
         settlement with the homeowners on Weath-           Safeway thereupon retained its own attorney to de-
         er Shield's indemnity liability. We confront       fend the workers' action, and later sought reim-
         the separate question whether the express          bursement of its defense costs from King.
         terms of Weather Shield's subcontract re-
                                                                The Court of Appeal agreed with Safeway. The
         quired Weather Shield, at its own expense,
                                                            court noted that “under the contract of indemnity,




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no contrary intent appearing, King was bound to de-         sureds' defense, specified that the insureds need not
fend the actions. (Civ.Code, § 2778, subd. 4.)” (           contest any legal claim unless counsel mutually
Safeway Stores, supra, 202 Cal.App.2d 99, 114, 20           chosen by the parties advised otherwise, and pro-
Cal.Rptr. 820, italics added.) However, the court           hibited either party from settling a claim against the
reasoned, in light of the obvious conflict between          insureds without the other's consent. The policy fur-
Safeway's litigation interests and King's position on       ther stated that if the insureds refused a settlement
the indemnity issue, Safeway had reasonably in-             offer against the underwriters' recommendation,
ferred that, despite King's technical proffer, King         and elected to contest the claim further, the under-
did not intend to honor his contractual obligation to       writers' liability would not exceed the amount for
provide Safeway with a complete defense. Under              which the claim could have been settled, plus costs
these circumstances, the court concluded, Safeway           and expenses incurred by the insureds with the un-
did not act as a volunteer in assuming its own de-          derwriters' consent.
fense, and was entitled to reimbursement for King's
breach of the duty to defend.                                    After the insureds settled a third party claim,
                                                            they sought declaratory relief against the under-
      Similarly, in Buchalter v. Levin (1967) 252           writers on the issue of liability for defense costs.
Cal.App.2d 367, 60 Cal.Rptr. 369, the court ac-             The insureds contended that under subdivision 4 of
knowledged that subdivision 4 of section 2778               section 2778, the policy included, and the under-
“establishes an indemnitor's obligation to defend           writers had breached, an “actual duty to defend” (
the indemnitee upon ***732 request, even though             Gribaldo, supra, 3 Cal.3d 434, 441, 91 Cal.Rptr. 6,
the indemnity agreement does not expressly so               476 P.2d 406) any claim, of a type covered by the
provide. ...”     (Buchalter, supra, at p. 374, 60          policy, in which the initial demand exceeded the
Cal.Rptr. 369, italics added.) However, the court           $2,500 deductible. Hence, the insureds insisted, the
concluded, the subdivision's provision that the in-         underwriters were now obliged to pay the insureds'
demnitee may “conduct his own defense ‘if he                costs of defending such claims in full, regardless of
chooses to do so’ ” (ibid.) does not mean the in-           the amounts for which the claims were actually re-
demnitee ordinarily may *556 refuse the indemnit-           solved.
or's good faith proffer of a complete defense, then
still collect reimbursement from the indemnitor for              The trial court disagreed. It reasoned that, un-
the defense costs the indemnitee has voluntarily in-        der the particular terms of the policy, the under-
curred. (Id., at pp. 374–375, 60 Cal.Rptr. 369; cf.         writers were not obliged to defend the insureds.
Goodman v. Severin (1969) 274 Cal.App.2d 885,               Hence, the court concluded, any liability of the un-
897, 79 Cal.Rptr. 555.)                                     derwriters for the insureds' defense costs arose
                                                            solely under subdivision 3 of section 2778, as part
     In Gribaldo, Jacobs, Jones & Associates v. Ag-         of any indemnity the underwriters otherwise owed
rippina Versicherunges A.G. (1970) 3 Cal.3d 434,            the insureds. That obligation, the court held, ap-
91 Cal.Rptr. 6, 476 P.2d 406 (Gribaldo ), a major-          plied only to costs incurred by the insureds to de-
ity of this court carefully distinguished between the       fend claims “embraced within the provisions of the
“costs of defense” described in subdivision 3 of            policy, that is, those claims in excess of $2,500 ac-
section 2778, on the one hand, and the duty “to de-         tually paid by [the insureds].” (Gribaldo, supra, 3
fend” the indemnitee, as set forth in subdivision 4         Cal.3d 434, 441, 91 Cal.Rptr. 6, 476 P.2d 406.)
of the statute, on the other. There, an errors and
omissions indemnity policy provided for a deduct-                *557 This court affirmed. The majority agreed
ible of $2,500, said nothing about a duty to defend,        “that under the provisions of subdivision 4 of sec-
gave the underwriters the right to assume the in-           tion 2778 the indemnitor is required to defend mat-
                                                            ters embraced by the indemnity if ... requested to do




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so by the indemnitee.” **434(Gribaldo, supra, 3             right to reimbursement of its defense costs under
Cal.3d 434, 448, 91 Cal.Rptr. 6, 476 P.2d 406.)             the indemnity provisions of subdivision 3 of the
However, the majority noted, the policy at issue in-        statute.
dicated a contrary intent, as section 2778 permits.
By its plain terms, the policy allowed the under-                [15] Thus, as these decisions indicate, subdivi-
writers, at their option, to assume the insureds' de-       sion 4 of section 2778, by specifying an indemnit-
fense, and it “require [d] [the insureds] to defend         or's duty “to defend” the indemnitee upon the lat-
claims where so advised by counsel.” (Ibid.)                ter's request, places in every indemnity contract,
Moreover, the majority noted, ***733 even assum-            unless the agreement provides otherwise, a duty to
ing the policy did not, at the outset, exclude a duty       assume the indemnitee's defense, if tendered,
to defend, the insureds had, contrary to the policy,        against all claims “embraced by the indemnity.”
incurred defense costs without first obtaining the          The indemnitor's failure to assume the duty to de-
underwriters' consent, and had failed, as required          fend the indemnitee upon request (§ 2778, subd. 4)
by subdivision 4 of section 2778, to request a de-          may give rise to damages in the form of reimburse-
fense. (Gribaldo, supra, at pp. 448–449, 91                 ment of defense costs the indemnitee was *558
Cal.Rptr. 6, 476 P.2d 406.)                                 thereby forced to incur. But this duty is nonetheless
                                                            distinct and separate from the contractual obligation
     Accordingly, the majority reasoned, the under-         to pay an indemnitee's defense costs, after the fact,
writers had breached no duty under subdivision 4 of         as part of any indemnity owed under the agreement.
section 2778 to defend any and all claims in which          (Id., subd. 3.)
the demand exceeded the $2,500 deductible. In-
stead, the majority concluded, the trial court had ac-           [16][17] Implicit in this understanding of the
ted correctly in calculating the underwriters' de-          duty to defend an indemnitee against all claims
fense-cost liability under subdivision 3 of the stat-       “embraced by the indemnity,” as specified in subdi-
ute. Under the latter provision, the majority held,         vision 4 of section 2778, is that the duty arises im-
the underwriters' defense-cost liability was limited        mediately upon a proper tender of defense by the
to the insureds' expense of defending claims as to          indemnitee, and thus before the litigation to be de-
which the underwriters otherwise owed indem-                fended has determined whether indemnity is actu-
nity—i.e., those claims actually paid by the in-            ally owed. This duty, as described in the statute,
sureds in amounts exceeding the $2,500 deductible.          therefore cannot depend on the outcome of that lit-
(Gribaldo, supra, 3 Cal.3d 434, 447–450, 91                 igation. It follows that, under subdivision 4 of sec-
Cal.Rptr. 6, 476 P.2d 406.)                                 tion 2778, claims “embraced by the indemnity,” as
                                                            to which the duty to defend is owed, include those
     Recently, City of Watsonville v. Corrigan              which, at the time of tender, allege facts that would
                                                                                              FN7
(2007) 149 Cal.App.4th 1542, 58 Cal.Rptr.3d 458             give rise to a duty of indemnity.      Unless the in-
observed once again that subdivision 4 of section           demnity***734 agreement states otherwise, the
2778 “describes the indemnitor's duty to defend ...         statutorily described duty “to defend” the indemnit-
actions or proceedings brought against the indem-           ee upon tender of the defense thus extends to all
nitee if the latter requests the defense.” (City of         such claims.
Watsonville, supra, at p. 1549, 58 Cal.Rptr.3d 458,
original italics.) However, the Court of Appeal held                 FN7. We do not suggest that the indemnit-
that by failing to request a defense, or to notify the               or's duty to defend would continue even if,
indemnitor of the third party action, and by unilat-                 during the progress of the third party pro-
erally deciding to conduct its own defense, the in-                  ceeding against the indemnitee, all claims
demnitee does not necessarily forfeit its contractual                potentially subject to the contractual in-
                                                                     demnity obligation were eliminated, or if




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        the promisor otherwise conclusively estab-          such injury, damage, loss, or theft. (Italics added.)
        lished that the claims were not among
        those “embraced by the indemnity” ( §                    [19] One can only indemnify against “claims
        2778, subd. 4). Such issues are not before          for damages” that have been resolved against the
        us, and we express no views thereon.                indemnitee, i.e., those as to which the indemnitee
                                                            has actually sustained liability or paid damages. In-
     [18] Here, the subcontract at issue not only           demnification, after all, is the act of saving another
failed to limit or exclude Weather Shield's duty “to        from the legal consequence of an act. ( § 2772.)
defend” JMP, as otherwise provided by subdivision           Hence, a clause requiring Weather Shield to indem-
4 of section 2778, it confirmed this duty. In lan-          nify JMP “against” defined claims clearly indicated
guage similar to that of the statute, the subcontract       that the indemnity obligation would apply only if
explicitly obligated Weather Shield both to indem-          JMP ultimately incurred such a legal consequence
nify **435 JMP against certain claims, and “at [its]        as a result of covered claims.
own expense to defend ” JMP against “any suit or
action ... founded upon” such claims. (Italics ad-               By contrast, as noted above, the subcontract re-
ded.) The duty “to defend” expressly set forth in           quired Weather Shield “to defend” JMP against “
Weather Shield's subcontract thus clearly contem-           any suit or action ... founded upon the claim of
plated a duty that arose when such a claim was              such damage....” (Italics added.) Under this lan-
       FN8                                                  guage, the duty to defend arose, as it logically must,
made,       and was not dependent on whether the
very litigation to be defended later established            as soon as a “suit or action” was brought against
Weather Shield's obligation to pay indemnity.               JMP that was “founded upon” a covered claim, i.e.,
                                                            that asserted a claim within the coverage of both
        FN8. Unlike subdivision 4 of Civil Code             clauses. Necessarily, a duty expressed in this man-
        section 2778, Weather Shield's subcontract          ner did not require a final determination of the is-
        did not expressly condition the duty “to de-        sues, including the issue of Weather Shield's negli-
        fend” upon the indemnitee's request for a           gence, before Weather Shield was required to
        defense. In any event, as noted above (fn.1,        mount and finance a defense on JMP's behalf.
        ante ), Weather Shield does not contend it
        was absolved of a duty to defend on ac-                  The Court of Appeal majority so concluded.
        count of any failure by JMP to make such            Dissenting on this point, Justice O'Leary conceded
        a request.                                          at the outset that “the word ‘defend,’ as defined in
                                                            the abstract, would ordinarily mean providing legal
     Moreover, the subcontract at issue included a          services for a pending claim.” Nonetheless, she
further express indication that the express duty “to        stressed, noninsurance indemnity contracts, unlike
defend” actions against JMP was not strictly limited        liability insurance policies, ***735 are construed to
to those claims on which, in the end, Weather               limit the obligations imposed, and the duties under-
Shield actually owed indemnity. The indemnity and           taken must be stated with particular clarity and spe-
defense clauses of the subcontract contained lin-           cificity. Examined in that light, she asserted,
guistic differences that conform to the logical dis-        Weather Shield's subcontract did not make abso-
tinctions between the two duties. On the one hand,          lutely clear that Weather Shield's duty to defend,
the subcontract obligated Weather Shield to                 unlike its duty to indemnify, arose regardless of its
“indemnify ... [JMP] ... against” all claims for in-        negligence.
jury, damage, loss, or theft arising from perform-
ance of the subcontract, while, on the other, it re-            To conclude that, absent greater specificity, the
quired Weather *559 Shield “to defend any suit or           indemnity and defense obligations stated in the sub-
action ... against [JMP] founded upon the claim” of         contract both required a finding of Weather Shield's




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negligence, Justice O'Leary reasoned as follows:            for costs incurred by the latter in defending a par-
The indemnity and defense obligations in Weather            ticular claim. However, the instant subcontract did
Shield's subcontract were “described in a single            neither. On the contrary, it specified that Weather
sentence” with two clauses. The first clause, stating       Shield would be required, “at [its] own expense,” to
the indemnity obligation, covered “ ‘claims for             “defend” JMP against suits “founded upon” claims
damages ... growing out of the execution of                 arising from Weather Shield's performance of its
[Weather Shield's] work....’ Everyone (the litigants,       subcontract. This language indicated a more imme-
trial court, and majority) seems to agree [that] mat-       diate obligation, one that would necessarily arise
ters embraced by this indemnity clause [were] nar-          before the litigation to be defended could determine
rowly limited to damages caused by [Weather                 whether Weather Shield owed indemnity to JMP.
Shield's] own *560 negligent work on the project.”
(Original italics.) The second clause, defining the              In arguing otherwise, Weather Shield relies
defense duty, confined that responsibility to suits or      heavily on Heppler, supra, 73 Cal.App.4th 1265, 87
actions founded upon “ ‘the claim of such dam-              Cal.Rptr.2d 497. There, in connection with another
age....’ The qualifying phrase, ‘claim of such dam-         of JMP's large residential construction projects,
age’ clearly refer[red] to the earlier language limit-      Mueller–Lewis Concrete (Mueller) signed a JMP-
ing the scope of claims embraced by the indemnity,          drafted subcontract containing indemnity and de-
i.e., ‘all claims for damages ... growing out of the        fense clauses identical to those at issue here.
execution of the work[.]’ **436 Therefore, both ob-         Homeowners sued JMP, Mueller, and others for
ligations appear to be dependent on the same cover-         construction defects. Mueller declined JMP's tender
age terms.”                                                 of defense. In a global settlement, JMP assigned its
                                                            contractual rights against Mueller to plaintiff
    But Justice O'Leary's analysis overlooks the            homeowners. As JMP's ***736 assignees, they
clear differences in the two clauses that we have           sought to recover against Mueller under both the in-
described above. In particular, Weather Shield's ex-        demnity and defense provisions. The defect, indem-
press contractual duty to defend suits “founded             nity, and defense issues went to trial against
upon” the kinds of claims specified in the agree-           Mueller. The trial court ruled that plaintiffs must
ment necessarily extended to suits that alleged such        prove negligence and causation against Mueller in
claims, not just suits in which they were proven.           order to trigger Mueller's contractual indemnity ob-
Assuming, as we must, that Weather Shield's sub-            ligations. The jury returned a general verdict for
contract obligated it to indemnify JMP against              Mueller.
claims arising from Weather Shield's negligent per-
formance of the subcontract, it follows that Weath-             *561 On appeal, plaintiffs challenged the lower
er Shield's contractual duty to defend JMP encom-           court's ruling that Mueller's negligence was a pre-
passed suits or actions that alleged such negligence        requisite to its contractual duty of indemnity. The
on Weather Shield's part. Weather Shield could not          Court of Appeal affirmed the judgment in Mueller's
avoid this duty on the ground that the very litiga-         favor. For a number of reasons, the court concluded
tion to be defended might later result in a finding         that the language of the subcontract triggered
Weather Shield was, in fact, not negligent.                 Mueller's indemnity obligation only if Mueller it-
                                                            self was found negligent. (Heppler, supra, 73
     Parties to an indemnity contract can easily dis-       Cal.App.4th 1265, 1275–1281, 87 Cal.Rptr.2d 497.)
                                                            FN9
claim any responsibility of the indemnitor for the
indemnitee's defense, or the costs thereof. Short of
that, they can specify that the indemnitor's sole de-                FN9. This aspect of the ruling in Heppler,
fense obligation will be to reimburse the indemnitee                 supra,    73  Cal.App.4th      1265,   87
                                                                     Cal.Rptr.2d 497, may be what has dis-




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        suaded the homeowners in this case, acting                   incurred in so establishing. The Court of
        in JMP's stead, from challenging on appeal                   Appeal concluded that the answer was yes,
        the trial court's ruling that the identical in-              reasoning that these were fees expended by
        demnity clause in Weather Shield's sub-                      the subcontractor/indemnitor to enforce the
        contract required Weather Shield's negli-                    indemnity agreement itself, i.e., to prove
        gence as a condition of its indemnity liabil-                that it owed no contractual indemnity.
        ity.
                                                                 **437 Here, by contrast, we directly confront
     However, the plaintiffs in Heppler did not con-        the relationship, and the distinctions, between the
tend that, even if the indemnity clause in Mueller's        two clauses. Upon examination, as explained
subcontract was triggered only by Mueller's actual          above, their language differs in a way suggesting
negligence, the duty-to-defend clause applied more          that, even if the indemnity obligation is triggered
broadly. Accordingly, the Heppler court never sep-          only by an ultimate finding of the indemnitor's
arately addressed the defense clause of the subcon-         fault, the defense obligation applies before, and
tract, or considered how the particular language of         thus regardless of, any finding to be made in the
that clause might distinguish it from the indemnity         course of the litigation for which a defense is owed.
clause. In affirming the general verdict for Mueller,       Hence, whatever Heppler's merits on the issues ac-
the court simply assumed that the indemnity and             tually considered in that case, we do not find the
defense provisions of the subcontract were congru-          decision helpful or persuasive on the narrow ques-
     FN10
ent.                                                        tion before us.

        FN10. This assumption is confirmed by                    Similarly, Goldman, supra, 62 Cal.2d 40, 41
        Baldwin Builders v. Coast Plastering                Cal.Rptr. 73, 396 P.2d 377, cited by Weather
        Corp. (2005) 125 Cal.App.4th 1339, 24               Shield, is of little use in construing the particular
        Cal.Rptr.3d 9, where the same Court of              defense clause at issue in this case. Our opinion
        Appeal panel broadly stated the holding of          noted a duty-to-defend clause, phrased in language
        Heppler as being that “an indemnitor/               different from that we address here, that might bind
        subcontractor generally will not be liable          the subcontractor in that case. (See ***737 *562id.,
        or have a duty to defend its general con-           at pp. 42–43, fn. 2, 41 Cal.Rptr. 73, 396 P.2d 377).
        tractor pursuant to the terms of an indem-          We also indicated that the indemnitee had deman-
        nity agreement unless it was negligent in           ded both indemnity and a defense from the subcon-
        performing its work under the subcon-               tractor. (Id., at p. 42, 41 Cal.Rptr. 73, 396 P.2d
        tract.” (Baldwin Builders, supra, at p.             377.) However, our decision addressed only the
        1347, 24 Cal.Rptr.3d 9, italics added.) But         subcontractor's duties under the separate indemnity
        this passage in Baldwin Builders is dictum;         clause at issue in the case. Our holding was simply
        the case had nothing to do with an indem-           that if one seeks contractual indemnity protection
        nitor's duty, regardless of fault, to defend        for his or her own active negligence, the language
        its indemnitee. The sole question was               providing such protection must be particularly clear
        whether, having proved in the underlying            and explicit. (Id., at p. 44, 41 Cal.Rptr. 73, 396 P.2d
        construction defect litigation that it was          377.) Here, upon close examination of Weather
        not negligent, and thus owed no indemnity           Shield's subcontract, we find it did clearly and ex-
        under the terms of its subcontract, the sub-        plicitly create a defense duty not dependent on the
        contractor/indemnitor could recover, under          ultimate resolution of issues, such as Weather
        the contractual attorney-fee reciprocity            Shield's fault, that would only be determined after
        statute (§ 1717, subd. (a)), its attorney fees      the duty arose.




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     Nor, under close examination, is Mel Clayton           tions**438 of the underlying complaint.” (Mel
Ford, supra, 104 Cal.App.4th 46, 127 Cal.Rptr.2d            Clayton Ford, supra, 104 Cal.App.4th 46, 55, 127
759, helpful to Weather Shield's cause. Weather             Cal.Rptr.2d 759, second italics added.)
Shield suggests Mel Clayton Ford stands for the
proposition that a duty-to-defend clause in a nonin-             Thus, in Mel Clayton Ford, it was not an alleg-
surance agreement does not extend to mere allega-           ations-versus-proof distinction that negated the
tions that would trigger an indemnity obligation            duty to defend. Rather, given the word “solely” in
only if proven. We do not so interpret the decision.        the indemnity/defense clause there at issue, the cru-
In our view, Weather Shield takes out of context            cial fact was that the suit for which a defense was
the passage on which it relies.                             sought included allegations other than those to
                                                            which the manufacturer had limited its defense
     In Mel Clayton Ford, an agreement between a            duty—design or production defects attributable to
                                                                                     FN11
vehicle manufacturer and its retail dealer specified        the manufacturer itself.
that the manufacturer would defend and indemnify
the dealer against any third party suits, complaints,                FN11. To the extent there is any ambiguity
or claims “ ‘ concerning ... injury or ... damage                    in Mel Clayton Ford's holding on this
arising out of an occurrence caused solely by’ ” a                   point, it cannot be resolved by further ex-
manufacturing or design defect in a vehicle sup-                     amination of the Court of Appeal's opinion
plied to the dealer by the manufacturer. (Mel                        in that case. Except for the summary pas-
Clayton Ford, supra, 104 Cal.App.4th 46, 49, 127                     sage quoted above, the Court of Appeal's
Cal.Rptr.2d 759, italics added.) Thus, the manufac-                  discussion of this interpretive issue ap-
turer excluded from its defense obligation any suit                  peared in the unpublished portion of its
or claim that alleged dealer negligence, or any the-                 partially published opinion.
ory other than manufacturing or design defect, as a
                                                                 ***738 Here, Weather Shield's contractual
sole or contributing cause of the injury or damage.
                                                            duty was not similarly limited. Weather Shield
     In 1989, the plaintiff purchased from the dealer       promised to defend JMP against any suit “founded
a truck supplied by the manufacturer. Thereafter,           upon” a “claim of ... damage” “growing out of the
the dealer performed maintenance on the vehicle. In         execution of [Weather Shield's] work.” The con-
1997, while the plaintiff was driving the truck, it         tract did not specify, or even hint, that no defense
burst into flames, seriously injuring him. He sued          duty would exist unless the suit was solely con-
both the manufacturer and the dealer, alleging not          cerned with Weather Shield's performance under its
only a defectively designed and manufactured                own subcontract and included no other claims or al-
product, but also claims based on failure to warn,          legations. Nor does Weather Shield so claim.
breach of warranty, and “ ‘theories of [the dealer's]       Hence, nothing decided in Mel Clayton Ford estab-
direct or active negligence in the maintenance of           lishes that until Weather Shield's faulty perform-
the vehicle.’ ” (Mel Clayton Ford, supra, 104               ance of its work was proven, it had no duty to de-
Cal.App.4th 46, 50, 127 Cal.Rptr.2d 759.)                   fend JMP.

    The Court of Appeal held that the manufacturer               Finally, we are not persuaded by Regan Roof-
had no duty to undertake the dealer's defense under         ing, supra, 24 Cal.App.4th 425, 29 Cal.Rptr.2d 413,
such circumstances. This was because “[t]he in-             insofar as that decision suggests that a contractual
demnity provision required [the manufacturer] to            duty to defend specified classes of claims, ex-
defend the Dealer only where the occurrence was             pressed in such terms, necessarily depends on the
caused solely by a production defect, and not *563          promisor's ultimate liability for indemnity on those
whenever product liability was one of the allega-           claims.




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     In Regan Roofing, after a housing developer,           point. The appellate court indicated that “summary
Pacific Scene, was sued for construction defects, it        adjudication of the duty to defend and its relation-
cross-complained against numerous project subcon-           ship to the duty to indemnify (i.e., the scope of ‘the
tractors to establish its contractual indemnity and         matters embraced by the indemnity’) is premature.
defense rights. Each of these agreements required           No determination has yet been made as to whether
the subcontractor to indemnify Pacific Scene                the subcontractors were negligent in the perform-
against all mechanic's liens related to the subcon-         ance of their work, giving rise to a duty to indemni-
tractor's work, as well as “ ‘any other liability, cost     fy and a related duty to defend. Pacific Scene has
or expense of any nature or kind arising out of or in       not ***739 clearly established that under this in-
any way connected with Subcontractor's perform-             demnity clause, the duty to defend**439 against
ance, ... save and except only such liability, cost or      claims of liability is entirely free-standing of the
expense caused by [Pacific Scene's] sole negligence         duty to indemnify for liability arising out of a sub-
or sole willful misconduct.’ ” (Regan Roofing,              contractor's negligence. [Citation.]” (Regan Roof-
supra, 24 Cal.App.4th at p. 430, 29 Cal.Rptr.2d             ing, supra, 24 Cal.App.4th 425, 436, 29 Cal.Rptr.2d
413, italics added.) “ ‘Pursuant to the ... foregoing,’     413, italics added.)
” the subcontracts declared, “ ‘Subcontractor shall
indemnify and hold harmless [Pacific Scene] from                 In reaching this conclusion, however, the Court
any costs and expenses for attorney's fees ... result-      of Appeal erred. The court seems to have assumed
ing to [Pacific Scene] from such claims or liens.’ ”        that, under subdivision 4 of section 2778, and un-
(Ibid., italics omitted.) Finally, each agreement sep-      less the agreement at issue clearly provides other-
arately provided that “ ‘[i]n the event any suit on         wise, an indemnitor's duty to defend the indemnitee
any claim is *564 brought against [Pacific Scene],          upon request in matters “embraced by the indem-
subject to the provision, Subcontractor shall defend        nity” is not, in the court's words, “free-standing,”
said suit at Subcontractor's own cost and ex-               but extends only to claims as to which indemnity is
pense....’ ” (Ibid., italics omitted.)                      actually owed. (Regan Roofing, supra, 24
                                                            Cal.App.4th 425, 436, 29 Cal.Rptr.2d 413.) And the
     Pacific Scene sought pretrial summary adjudic-         court found no such explicit contrary intent in the
ation of a number of issues, including rulings on the       subcontracts there under consideration.
subcontractors' duties to indemnify and defend. The
trial court determined that the indemnity provision              However, as we have explained, the duty to de-
of the subcontracts included coverage for Pacific           fend upon the indemnitee's request, as set forth in
Scene's own negligence. However, the court found            subdivision 4 of section 2778, is distinct from, and
that the question whether the subcontractors actu-          broader than, the duty expressed in subdivision 3 of
ally owed indemnity was premature, because,                 the statute to reimburse an indemnitee's defense
among other things, Pacific Scene had not yet in-           costs as part of any indemnity otherwise owed.
curred liability or paid claims subject to indemnity.       Moreover, the subcontracts at issue in Regan Roof-
On the other hand, the court concluded, under the           ing, like the one before us here, did explicitly indic-
language of the agreements and section 2778, each           ate a separate and distinct duty to defend the in-
subcontractor did have an immediate duty to defend          demnitee, at the indemnitor's own cost and expense,
claims “ ‘brought against [Pacific Scene] in respect        against suits raising claims covered by the indem-
to matters embraced by the indemnity clause.’ ” (           nity. That duty—like Weather Shield's in this *565
Regan Roofing, supra, 24 Cal.App.4th 425, 432, 29           case—necessarily arose when such a claim was
Cal.Rptr.2d 413.)                                           made against the indemnitee, and thus did not de-
                                                            pend on whether the conditions of indemnity were,
    The Court of Appeal reversed on the latter              or were not, later established.




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     [20][21][22] Regan Roofing was therefore mis-                     persons, seeking to establish a contractu-
taken insofar as it concluded that, under the agree-                   al right to a defense against litigation not
ments there at issue, the subcontractors' defense du-                  yet concluded, these issues may, if the
ties arose only if the subcontractors became liable                    parties agree, be deferred until the un-
for indemnity. We will disapprove the Regan Roof-                      derlying litigation is complete. If any
                             FN12
ing decision to that extent.                                           party moves for summary judgment or
                                                                       adjudication (Code Civ. Proc., § 437c)
        FN12. We realize that Regan Roofing's                          with respect to the duty to defend against
        finding of prematurity was also substan-                       litigation still in progress, the court may
        tially influenced by the practical diffi-                      proceed as it deems expedient. For ex-
        culties of sorting out multiple, and poten-                    ample, the court may resolve legal issues
        tially conflicting, duties to assume the act-                  then ripe for adjudication, such as
        ive defense of litigation then in progress.                    whether any of the contracts at issue in-
        (See Regan Roofing, supra, 24 Cal.App.4th                      clude a duty to defend, and, if so, wheth-
        425, 437, 29 Cal.Rptr.2d 413.) Weather                         er the underlying suit or proceeding as to
        Shield and its amici curiae raise similar                      which a defense is sought falls within
        concerns. But the case before us does not                      the scope of any of the parties' contractu-
        present such problems. JMP cross-                              al duty to defend. If the court finds that
        complained against Weather Shield and                          an ongoing duty to defend is owed by
        other subcontractors on indemnity and                          one or more parties, but the affected
        duty-to-defend issues, but the trial on these                  parties, acting in good faith, then cannot
        issues was postponed until after most of                       agree on how such a defense should be
        the subcontractors had settled with JMP,                       provided or financed, the court may, in
        and after the underlying construction de-                      its discretion, permit the underlying lit-
        fect litigation against the remaining                          igation to proceed with counsel chosen
        parties, including Weather Shield, was                         and paid by the party to whom the duty
        concluded. Thus, while the trial court cor-                    is owed, subject to a later determination
        rectly held that Weather Shield's contractu-                   of how damages for breach of the duty to
        al duty to defend arose when a suit al-                        defend should be apportioned among the
        leging covered claims was brought against                      breaching parties.
        JMP, and that the duty thus did not depend
        on whether the conditions for indemnity                  ***740 Weather Shield and its amici curiae
        were later established, the court was able          raise numerous, and substantial, policy concerns
        to assess after the fact Weather Shield's           about an indemnity agreement that requires a sub-
        proportionate liability for breach of its           contractor to defend a residential developer or
        duty to defend.                                     builder in a construction defect suit before, and re-
                                                            gardless of whether, the subcontractor itself is
           The instant parties apparently saw no            found to be at fault. Arguments asserted include the
           impropriety in this procedure, and               following: Large builders and developers use their
           neither do we. At least with respect to          superior bargaining power, and self-drafted contract
           pre–2006 residential construction sub-           terms, unfairly to shift the financial consequences
           contracts, and subject to any future con-        of their own legal liability to faultless subcontract-
           trary or inconsistent legislation, the fol-      ors, who are not compensated**440 for the risk and
           lowing procedures seem appropriate:                                                              FN13
                                                            agree only because *566 they need the work.
           When a party sues one or more other              Such shifting discourages builders and developers




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themselves from taking proper care in construction          see § 2782, subd. (e), as added by Stats. 2007, ch.
                                                                      FN14
oversight. Small subcontractors, moreover, lack the         32, § 1.)         However, Weather Shield and its
resources to fund a developer's defense “up front”          ***741 amici curiae assert that, unless we hold oth-
while often simultaneously defending themselves in          erwise, California's 10–year *567 statute of limita-
the same lawsuit, where the developer typically             tions for construction defects (Code Civ. Proc., §
pursues the hostile and conflicting strategy of pin-        337.15) still exposes numerous subcontractors who
ning blame on them. The developer can demand a              signed earlier agreements to unfair and burdensome
defense from a single subcontractor among many,             defense demands by developers.
and the latter may later be unable to obtain contri-
bution from other subcontractors. Further, subcon-                   FN14. As noted above, section 2782, sub-
tractors, unlike liability insurers, lack defense attor-             division (a) has long provided that a party
ney “panels” available at favorable fee rates. Be-                   to a construction contract cannot agree to
cause of privilege and conflict-of-interest issues,                  indemnify another project participant for
they may also lack access to the developer's attor-                  the latter's sole negligence or willful mis-
ney billing records. As a result, a subcontractor                    conduct. Subdivision (c) of section 2782,
may be forced to pay exorbitant and unreasonable                     as adopted in 2005 and slightly amended in
legal costs for the developer's defense. Finally, the                2007, additionally provides in pertinent
vagaries of construction defect litigation in Califor-               part: “For all construction contracts, and
nia have caused many insurers to leave the market.                   amendments thereto, entered into after
Thus, and contrary to the Court of Appeal's as-                      January 1, 2006, for residential construc-
sumption, “backup” insurance to cover subcontract-                   tion ..., all provisions, clauses, covenants,
ors' contractual defense burdens is not readily avail-               and agreements contained in, collateral to,
able at reasonable cost.                                             or affecting any construction contract, and
                                                                     amendments thereto, that purport to indem-
         FN13. By noting this argument, we do not                    nify, including the cost to defend, the
         dismiss the possibility that in many in-                    builder ... by a subcontractor against liabil-
         stances, subcontractors may prefer to as-                   ity for claims of construction defects are
         sume, and control, the defense of suits                     unenforceable to the extent the claims arise
         against builders, developers, or other con-                 out of, pertain to, or relate to the negli-
         tractors, especially when the claims raised                 gence of the builder or the builder's other
         may expose the subcontractors themselves                    agents, other servants, or other independ-
         to direct or indirect liability.                            ent contractors who are directly respons-
                                                                     ible to the builder, or for defects in design
     As Weather Shield and its amici curiae point                    furnished by those persons.... This section
out, statutes effective January 1, 2006, and January                 shall not be waived or modified by con-
1, 2008, respectively, were adopted to address just                  tractual agreement, act, or omission of the
such concerns. These new laws, which apply to res-                   parties. Contractual provisions, clauses,
idential construction contracts entered after their                  covenants, or agreements not expressly
effective dates, void any term in such a contract                    prohibited herein are reserved to the agree-
that obliges a subcontractor to indemnify certain                    ment of the parties.”
other project participants, “including the cost to de-
fend,” against construction defect claims “to the ex-                  Subdivision (d) of section 2782, also ad-
tent” the claims “arise out of, pertain to, or relate                  opted in 2005 and effective January 1,
to” the negligence of those other entities. (§ 2782,                   2006, provides in pertinent part:
subds.(c), (d), as added by Stats. 2005, ch. 394, § 1;                 “Subdivision (c) does not prohibit a sub-




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           contractor and builder from mutually             later reimbursement of the promisee's legal ex-
           agreeing to the timing or immediacy of           penses, and applies regardless, and independent, of
           the defense and provisions for reim-             any duty of indemnity for which the subcontractor
           bursement of defense fees and costs, so          may later become liable.
           long as that agreement, upon final resol-
           ution of the claims, does not waive or                [23] We are sensitive to the policy issues raised
           modify the provisions of subdivision             by Weather Shield and its amici curiae. Nonethe-
           (c).”                                            less, for reasons stated at length above, we decline
                                                            the holding they propose. Even applying the rule of
           Subdivision (e) of section 2782, as ad-          strict construction they espouse, the instant contract
           ded in 2007 and effective for residential        already sets forth, in unambiguous terms, an imme-
           construction contracts entered after Janu-       diate and independent duty to defend. As we have
           ary 1, 2008, uses parallel language to ex-       indicated, an express promise “to defend” another
           pand the categories of project parti-            against claims “founded upon” the promisor's acts
           cipants as to whom a subcontractor can-          or omissions inherently incorporates the character-
           not be made contractually responsible            istics they insist must be set forth in additional ex-
           for construction defect indemnity, in-           plicit terms. And if the parties intended only to give
           cluding defense costs, “to the extent”           the indemnitee a right to after the fact reimburse-
           such claims “arise out of, pertain to, or        ment of its legal expenses as a component of any
           relate to” the negligence of those entities      indemnity otherwise owed by the indemnitor, they
           or their agents, their servants, or the in-      would need no language to say so. That right is
           dependent contractors directly respons-          already included in every indemnity contract, un-
           ible to them. Under subdivision (e), the         less otherwise specifically provided, under subdivi-
                                                                                    FN15
           categories of project participants who           sion 3 of section 2778.
           may not obtain such contractual indem-
           nity from a subcontractor now include                     FN15. Amicus curiae Jeld–Wen, Inc., sug-
           not only the builder, but also “the gener-                gests “[t]here is good reason to believe”
           al contractor or contractor that is not af-               that    section    2778's    reference    to
           filiated with the builder.”                               “contract[s] of indemnity” was never in-
                                                                     tended to apply to anything but insurance
     **441 In effect, Weather Shield and its amici                   contracts. Jeld–Wen notes that section
curiae ask us to conclude as a matter of law that, in                2778, adopted in 1872, traces its lineage to
a pre–2006 residential construction contract, a term                 a similar 1865 New York statute which
which expressly obliges a subcontractor “to de-                      also used that term. This nomenclature,
fend” a builder, developer, or general contractor                    Jeld–Wen asserts, was commonly em-
against claims “founded upon” the subcontractor's                    ployed in the mid–19th century to refer to
negligent work, but says nothing further about the                   insurance contracts. Jeld–Wen further
scope of the duty, means only that the subcontractor                 notes that early cases interpreting the 1865
must reimburse the promisee, after the fact, for the                 New York law all concerned bonds or in-
promisee's legal expenses as part of any indemnity                   surance policies. We reject the contention
ultimately owed by the subcontractor to the prom-                    for several reasons. First, section 2778,
isee. They suggest that to produce a contrary result,                governing “contract[s] of indemnity,” ap-
the subcontract should say, in so many words, that                   pears in a portion of the Civil Code (title
the duty to defend arises immediately when a claim                   12 of part 4 of division 3, commencing
is asserted against the promisee, is not limited to                  with section 2772) simply entitled




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        “Indemnity.” Section 2772 defines                   development that included at least 122 homes. This
        “indemnity” as “a contract by which one             description suggests a multistate scale of opera-
        engages to save another from a legal con-           tions, and a consequent sophistication, that would
                                                                                           FN16
        sequence of the conduct of one of the               undermine any such assertions.
        parties, or of some other person.” That
        definition is not confined to insurance                      FN16. Questioned on this subject at oral
        agreements. Second, this same title in-                      argument, Weather Shield's counsel did not
        cludes a number of statutes that expressly                   deny that Weather Shield is a sizeable
        apply to the indemnity provisions of nonin-                  multistate purveyor of manufactured win-
        surance contracts. (See, e.g., §§                            dows.
        2782–2784        [construction     contracts],
                                                                **442 We therefore conclude that the duty “to
        2784.5 [hauling, trucking, or cartage con-
                                                            defend” JMP against claims “ founded upon” dam-
        tracts].) Third, California cases too numer-
                                                            age or loss caused by Weather Shield's negligent
        ous to mention have assumed, virtually
                                                            performance of its work, as set forth in Weather
        since the inception of section 2778, that it
                                                            Shield's subcontract, imposed such duties on
        applies to indemnity agreements outside
                                                            Weather Shield as soon as a suit was filed against
        the insurance context. (See, e.g., Davis v.
                                                            JMP that asserted such claims, and regardless of
        Air Technical Industries, Inc. (1978) 22
                                                            whether it was ultimately determined that Weather
        Cal.3d 1, 6, fn. 6, 148 Cal.Rptr. 419, 582
                                                            Shield was actually negligent. Accordingly, we af-
        P.2d 1010; Pacific Gas & E. Co. v. G.W.
                                                            firm the judgment of the Court of Appeal.
        Thomas Drayage etc. Co. (1968) 69 Cal.2d
        33, 41, fn. 9, 69 Cal.Rptr. 561, 442 P.2d                           *569 CONCLUSION
        641; Eva v. Andersen (1913) 166 Cal. 420,                The judgment of the Court of Appeal is af-
        424–425, 137 P. 16; Showers v.                      firmed. The decision in Regan Roofing Co. v. Su-
        Wadsworth (1889) 81 Cal. 270, 273–274,              perior Court, supra, 24 Cal.App.4th 425, 29
        22 P. 663; Peter Culley & Associates,               Cal.Rptr.2d 413, is disapproved to the extent it con-
        supra, 10 Cal.App.4th 1484, 1494–1496,              flicts with the conclusions set forth in this opinion.
        13 Cal.Rptr.2d 624; Buchalter v. Levin,
        supra, 252 Cal.App.2d 367, 371–375, 60              WE CONCUR: GEORGE, C.J., KENNARD, WER-
        Cal.Rptr. 369.) The Legislature has never           DEGAR, CHIN, MORENO, and CORRIGAN, JJ.
        indicated otherwise. No reason appears to
        disturb this settled construction.                  Cal.,2008.
                                                            Crawford v. Weather Shield Mfg. Inc.
     ***742 *568 Finally, Weather Shield does not           44 Cal.4th 541, 187 P.3d 424, 79 Cal.Rptr.3d 721,
suggest that, as applied to it, the subcontract was         08 Cal. Daily Op. Serv. 9261, 2008 Daily Journal
either procedurally or substantively unconscion-            D.A.R. 11,114
able. Nor does Weather Shield otherwise imply that
it is a relatively small and powerless subcontractor        END OF DOCUMENT
overwhelmed by JMP's superior bargaining power.
Furthermore, Weather Shield does not claim it na-
ively signed the instant subcontract without under-
standing the terms. Indeed, in its opening brief,
Weather Shield describes itself as “the out-of-state
manufacturer of the ... wood windows” installed in
the Huntington Beach residential development—a




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                                                                   208k43 k. Accrual of Duty to Defend. Most
                                                            Cited Cases
        Court of Appeal of Louisiana,
               Fourth Circuit.                              Workers' Compensation 413          2142.25
  John MORELLA and His Wife, Jewel Morella
                     v.                                     413 Workers' Compensation
 BOARD OF COMMISSIONERS OF The PORT                               413XX Effect of Act on Other Statutory or
           OF NEW ORLEANS.                                  Common-Law Rights of Action and Defenses
                                                                     413XX(B) Action by Third Person Against
                No. 2004-CA-0312.                           Employer
                  Oct. 27, 2004.                                      413XX(B)1 In General
                                                                            413k2142.10 Indemnity or Contribu-
Background: After collecting workers' compensa-             tion
tion benefits from his employer, injured employee                               413k2142.25 k. Indemnity, Con-
sued board of port authority (dock board). Dock             tractual. Most Cited Cases
board brought third-party claim against employer,                Lessee of port terminal was not required to in-
who leased terminal from port authority, seeking            demnify or defend lessor port authority against
defense and indemnification under terms of lease.           lessee's employee's personal injury action against
Both parties moved for summary judgment. The                lessor until determination was made that lessor was
District Court, Orleans Parish, No. 2002-10061,             not negligent, under indemnification provisions of
Ethel Simms Julien, J., entered judgment that dock          lease, even though port authority claimed obligation
board was entitled to defense but not to indemnific-        to defend was broader than obligation to indemnify;
ation. Parties cross-appealed.                              nothing in indemnity provision unequivocally
                                                            stated that port authority would be indemnified for
Holding: The Court of Appeal, Leon A. Canniz-
                                                            its own negligence.
zaro, Jr., J., held that lessee was not required to in-
demnify or defend dock board until determination            [2] Indemnity 208       31(6)
that board was not negligent.
                                                            208 Indemnity
   Affirmed in part, reversed in part,and re-                  208II Contractual Indemnity
manded.                                                             208k31 Construction and Operation of Con-
                                                            tracts
                  West Headnotes
                                                                         208k31(6) k. Indemnitee's Own Negli-
[1] Indemnity 208          42                               gence or Fault, in General. Most Cited Cases
                                                                 Contractual indemnity agreement will not be
208 Indemnity                                               construed to require the indemnitor to indemnify
   208II Contractual Indemnity                              the indemnitee for the indemnitee's own negligence.
        208k42 k. Accrual of Liability. Most Cited
Cases                                                       [3] Indemnity 208       30(1)

Indemnity 208         43                                    208 Indemnity
                                                               208II Contractual Indemnity
208 Indemnity                                                     208k26 Requisites and Validity of Contracts
   208II Contractual Indemnity                                        208k30 Indemnitee's Own Negligence or
                                                            Fault




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               208k30(1) k. In General. Most Cited           ginally sued the Dock Board for damages relating
Cases                                                        to an accident suffered by Mr. Morella during the
                                                             course and scope of his employment with P & O
Indemnity 208        31(6)                                                                                    FN2
                                                             Ports. Mr. Morella was operating a top loader
                                                             at the France Road Terminal, a wharf facility in
208 Indemnity
                                                             New Orleans where ships transporting cargo are
    208II Contractual Indemnity
                                                             loaded and unloaded. When he was operating the
         208k31 Construction and Operation of Con-
                                                             top loader, it unexpectedly hit a pot hole in a paved
tracts
                                                             area at the terminal, causing Mr. Morella to be in-
              208k31(6) k. Indemnitee's Own Negli-
                                                             jured.
gence or Fault, in General. Most Cited Cases
     Absent an unequivocal agreement to the con-                     FN2. A top loader is a piece of heavy ma-
trary, contractual indemnity agreements do not cov-                  chinery that is used to move cargo at the
er situations in which the indemnitee is found to be                 wharf.
at fault.
                                                                  **2 Mr. Morella collected worker's compensa-
*321 Ike Spears, Lakeisha N. Jefferson, Devoyce              tion benefits from P & O Ports pursuant to the
D. Stubbs, Spears & Spears, New Orleans, LA, for             Louisiana Workers' Compensation Law, La. R.S.
Defendant/Appellee, Board of Commissioners for               23:1021 et. seq. The Louisiana Workers' Compens-
the Port of New Orleans.                                     ation Law was the exclusive remedy available to
                                                             Mr. Morella against P & O Ports in connection with
C. Gordon Starling, Jr., Kevin E. Gronberg, Wagn-
                                                             the injuries he suffered from the accident involving
er & Bagot, New Orleans, LA, for Defendant/Ap-
                                                             the top loader. La. R.S. 23:1032 provides employ-
pellant, P & O Ports Louisiana, Inc.
                                                             ers with immunity from tort lawsuits brought by
                                                             employees for unintentional, job related injuries.
(Court composed of Judge MICHAEL E. KIRBY,
Judge EDWIN A. LOMBARD, Judge LEON A.                             The terminal property was leased by the Dock
CANNIZZARO, JR.)                                             Board to P & O Ports under a written lease. Be-
                                                             cause the Dock Board owned the property where
                                                             Mr. Morella was injured, he sued the Dock Board
*322 **1 LEON A. CANNIZZARO, JR., Judge.                     claiming damages for the injuries that he had
     This case involves an appeal from a summary             suffered as a result of the top loader hitting a pot
judgment in favor of the defendant, Board of Com-            hole on the Dock Board's property. The lease
missioners for the Port of New Orleans (hereinafter          between the Dock Board and P & O Ports contained
referred to as the “Dock Board”), against the third          several provisions that related to the allocation of
                                               FN1
party defendant, P & O Ports Louisiana, Inc.         P       responsibility between the lessor and the lessee for
& O Ports is appealing the trial court's ruling in fa-       injuries occurring on the leased premises.
vor of the Dock Board.
                                                                  After the Morellas sued the Dock Board, the
         FN1. The third party demand was made                Dock Board filed a third party demand against P &
         against New Orleans Marine Contractors,             O Ports. In the third party demand the Dock Board
         Inc. and its successor, P & O Ports.                alleged that pursuant to the lease, the terminal
                                                             where Mr. Mollera's injuries occurred was under
 STATEMENT OF FACTS AND PROCEDUR-                                          FN3
                                                             the “garde”         of P & O Ports. Thus, the Dock
                AL HISTORY
                                                             Board claimed that P & O Ports was solely respons-
   John Morella and his wife, Jewel Morella, ori-
                                                             ible for injuries occurring at the terminal. The Dock




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Board also alleged that pursuant to the lease, P & O       provide the Dock Board a defense, rather than a de-
Ports owed the Dock Board a defense in **3 the             fense and indemnification, the trial court in effect
suit filed by the Morellas and indemnification for         granted P & O Ports' motion for summary judgment
any claims for which the Dock Board was held li-           with respect to the indemnification issue.
able.
                                                                The Dock Board also filed a motion for sum-
        FN3. In Loescher v. Parr, 324 So.2d 441            mary judgment. The Dock Board argued that the
        (La.1976), the Louisiana Supreme Court             trial court should find that the Dock Board was en-
        discussed the meaning of the term “garde”          titled to a defense furnished by P & O Ports and to
        and stated that “the English translation of        indemnification for any losses the Dock Board
        ‘sous sa garde’ as ‘in our custody’ does not       might suffer in connection with the Morellas'
        fully express the concept of the ‘garde’ of        claims. Although the trial court's judgment does not
        a thing-the legal responsibility for its care      expressly refer to the motion for summary judg-
        of keeping-, so that one may lose the cus-         ment filed by the Dock Board, by holding that P &
        tody of a thing without losing its ‘garde’.”       O Ports owed a defense to the Dock **4 Board, the
        324 So.2d at 447 n. 6. See also Ross v. La         trial court effectively granted the Dock Board's mo-
        Conste de Monterville, 502 So.2d 1026,             tion for summary judgment in connection with the
        1029-32 (La.1987); Mix v. Krewe of Pet-            defense owed by P & O Ports while effectively
        ronius, 95-1793 (La.5/22/96), 675 So.2d            denying the Dock Board's motion for summary
        792, 796 n. 3.                                     judgment on the issue of whether indemnification
                                                           was owed by P & O Ports prior to the court's de-
     After P & O Ports answered the third party de-        termination of whether or not the Dock Board was
mand, it filed a motion for summary judgment               negligent in connection with Mr. Morella's acci-
against the Dock Board. P & O Ports argued that            dent.
any obligation to defend or indemnify the Dock
Board would arise only after there had been a judg-             P & O Ports is now appealing the trial court's
ment against the Dock Board and only if the *323           holding that it owes a defense to the Dock Board on
Dock Board were not found to be negligent in con-          the grounds that it is premature to require P & O
nection with Mr. Morella's accident. It was P & O          Ports to provide a defense. The Dock Board had
Ports' position that no indemnity or defense costs         originally sought a ruling that, even though there
would be owed to the Dock Board if Mr. Morella's           has been no determination regarding negligence
accident were determined to be caused by the Dock          with respect to Mr. Morella's accident, not only a
Board's negligence. Therefore, P & O Ports urged           defense but also indemnification are owed to the
the trial court to find that the Dock Board's claims       Dock Board. The Dock Board, however, has appar-
for a defense by P & O Ports and for indemnity             ently abandoned its claim that indemnification is
were premature.                                            owed prior to a determination that it was not negli-
                                                           gent. At oral argument the attorney representing the
     On P & O Ports' motion for summary judg-              Dock Board argued that a defense, but not indemni-
ment, the trial court held that P & O Ports owed the       fication, is owed by P & O Ports until there has
Dock Board a defense prior to a determination re-          been a determination that the Dock Board was free
garding the Dock Board's negligence or lack thereof        from fault in connection with the accident.
in connection with Mr. Morella's accident. Al-
though the judgment rendered by the trial court                       STANDARD OF REVIEW
stated that the motion for summary judgment filed              In Independent Fire Insurance Co. v. Sunbeam
by P & O Ports was denied, it is apparent that by          Corp., 99-2181, 99-2257 (La.2/29/00), 755 So.2d
holding that P & O Ports was only required to              226, the Louisiana Supreme Court discussed the




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standard of review of a summary judgment as fol-                forever hold harmless Board against all losses,
lows:                                                           costs, claims, charges, expenses, penalties, dam-
                                                                ages, fines, suits, demands, attorney's fees, in-
     Our review of a grant or denial of a motion for            terest, and actions of any kind and nature whatso-
  summary judgment is de novo. Schroeder v.                     ever arising out of, in connection with, or by
  Board of Sup'rs of Louisiana State University,                reasons of any of Lessee's operations ... on the
  591 So.2d 342 (La.1991). A motion for summary                 Leased Premises, including such as may be im-
  judgment will be granted “if the pleadings, de-               posed for the violation of any Laws ... including
  positions, answers to interrogatories, and admis-             all liability under employer's liability or worker's
  sions on file, together with the affidavits, if any,          compensation acts....
  show that there is no genuine issue as to material
  fact, and that the mover is entitled to judgment as           Another section of the lease tracked the lan-
  a matter of law.” La. C.C.P. art. 966(B). This art-      guage quoted above except that the indemnification
  icle was amended in 1996 **5 to provide that             obligation under that section arose in relevant part
  “summary judgment procedure is designed to se-           out of “any accident or other occurrence, whether
  cure the just, speedy, and inexpensive *324 de-          directly or indirectly caused, occasioned or **6
  termination of every action....” La. C.C.P. art.         contributed to in whole or in part through any act,
  966(A)(2). In 1997, the article was further              omission, fault or negligence ... of Lessee, its of-
  amended to specifically alter the burden of proof        ficers, directors, employees, representatives, agents
  in summary judgment proceedings as follows:              or invitees....”

      The burden of proof remains with the                      The lease also carved out an exception to the
    movant. Thereafter, if the adverse party fails to      indemnity obligations in the lease. The lease
    produce factual support sufficient to establish        provided that “[t]he above [the indemnity provi-
    that he will be able to satisfy his evidentiary        sions] notwithstanding, Lessee shall not be oblig-
    burden of proof at trial, there is no genuine is-      ated to indemnify this Board for its negligence or
    sue of material fact.                                  fault or that of its officers, directors, employees,
                                                           representatives, agents or invitees.”
  La. C.C.P. art. 966(C)(2).
                                                                The lease further provided for the hiring of at-
    99-2181, 99-2257, p. 7, 755 So.2d at 230-31.           torneys and the payment of attorneys' fees in con-
See also Shelton v. Standard/700 Associates,               nection with P & O Ports' indemnity obligations un-
2001-0587 (La.10/16/01), 798 So.2d 60. Therefore,          der the lease. The lease stated that when P & O
we must conduct a de novo review in the instant            Ports is fulfilling its obligations under the indem-
case.                                                      nity provisions of the lease, it must “engage attor-
                                                           neys to defend Board.” Additionally, P & O Ports
                    DISCUSSION
                                                           must select only attorneys to which the Dock Board
Lease Provisions
                                                           has given its prior, written consent. Finally, the
     The trial court determined that P & O Ports'
                                                           lease provided that if the Board has to retain an at-
duty to furnish a defense to the Dock Board was es-
                                                           torney to enforce the indemnity provisions of the
tablished in the lease between the Dock Board and
                                                           lease, then P & O Ports shall be liable for the reas-
P & O Ports. The lease contained broad indemnity
                                                           onable attorney's fees and costs associated with en-
provisions in favor of the Dock Board reading in
                                                           forcing those provisions.
relevant part as follows:
                                                           Assignments of Error
    Lessee shall protect, defend, indemnify, and
                                                               P & O Ports has raised three assignments of er-




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ror in this case. Both issues of fact and issues of        Ports must defend the Dock Board from the Morel-
law are involved in the assignments of error. P & O        las' claims prior to a determination regarding the
Ports asserts that the trial court erred in the follow-    Dock Board's negligence.
ing ways:
                                                                **8 In Meloy v. Conoco, Inc., 504 So.2d 833
  (1) by holding that P & O Ports was required to          (La.1987), the Louisiana Supreme Court stated as
  undertake the Dock Board's defense prior to a            follows regarding the distinction between an in-
  finding that the Dock Board was not negligent in         demnity agreement and an insurance policy:
  connection with Mr. Morella's claims;
                                                                   An indemnity agreement is a specialized form
  *325 7 (2) by failing to consider whether the                 of contract which is distinguishable from a liabil-
  Dock Board waived certain insurance require-                  ity insurance policy. A cause of action under a li-
  ments in the lease and whether the Dock Board's               ability insurance policy accrues when the liability
  failure to correct the condition of the paved por-            attaches. However, an insurer's duty to defend
  tions of the terminal area obviated the obligation            arises whenever the pleadings against the insured
  to defend; and                                                disclose a possibility of liability under the policy.
                                                                On the other hand, an indemnity agreement does
  (3) by failing to hold that P & O Ports does not              not render the indemnitor liable until the indem-
  owe indemnity to the Dock Board whether or not                nitee actually makes payment or sustains loss.
  the Dock Board is negligent, because P & O Ports              Therefore, a cause of action for indemnification
  does not owe indemnity to the Dock Board if it is             for cost of defense does not arise until the lawsuit
  negligent, and there will be no judgment against              is concluded and defense costs are paid.
  the Dock Board to be indemnified, if the Dock
  Board is not negligent.                                      504 So.2d at 839 (emphasis added) (citations
                                                           and footnotes omitted).
Legal Analysis
     Under all of the assignments of error, the legal           This Court has also held that a cause of action
issue to be decided is whether P & O Ports owes a          for indemnification for the cost of defense does not
defense to the Dock Board prior to a determination         arise until the lawsuit is concluded, and the costs of
that the Dock Board is free from negligence in con-        the defense are paid. In Webb v. Shell Offshore Inc.,
nection with the claims made against the Dock              557 So.2d 276 (La.App. 4th Cir.1990), this Court,
Board by the Morellas. The trial court judge found         citing the Meloy case, stated that “a cause of action
that P & O Ports was obligated to defend the Dock          for indemnification for cost of defense does not
Board against the Morellas' claims even without a          arise until the lawsuit is concluded and defense
determination that the Dock Board was negligent,           costs are paid.” 557 So.2d at 278. This Court fur-
because the judge held that the obligation to defend       ther stated that “Shell must assert its action for de-
under the lease was broader than the obligation to         fense costs after the termination of the instant suit
indemnify. The determination of whether the Dock           and may only recover if it is free of negligence or
Board was free from negligence in connection with          fault.” Id.
Mr. Morella's accident and the determination of
whether any other party was at fault present materi-            In Thibodaux v. Southern Natural Gas Co.,
al issues of fact that are yet to be resolved. There-      97-1483 (La.App. 4 Cir. 1/23/98), 705 So.2d 1287,
fore, the trial court judge was correct in not finding     this Court considered whether or not a contracting
that P & O Ports owed indemnity to the Dock                company, John E. Graham & Sons, was contractu-
Board prior to the resolution of those issues of fact.     ally obligated to defend Columbia Gulf Transmis-
We must, however, examine her holding that P & O           sion Company. The indemnity language contained




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*326 in an agreement between the two parties read          be negligent for indemnification to be owed. There-
as follows:                                                fore, the duty to defend was triggered only where
                                                           the indemnitee was not negligent. The provision in
  Contractor [Graham] shall indemnify and hold             the contract regarding the duty to provide a defense
  harmless Company [Columbia] from and against             for the indemnitee provided that **10 “in any such
  any and all loss, **9 damage and liability and           claim, suit, action or proceeding,” the indemnitor
  from any and all claims for damages on account           would be obligated to defend the indemnitee. Id.
  of or by reason of bodily injury, including death,       (emphasis added). This Court noted that the quali-
  which may be sustained or claimed to be sus-             fying word “such” referred to claims where the in-
  tained by any person ... provided such are actu-         demnitee was not negligent; otherwise, any suit
  ally caused by or arise out of negligent acts or         brought against the indemnitee, whether or not it
  omissions of Contractor or its agents or employ-         involved the indemnitor in any way, would have to
  ees in connection with the performance of this           be defended by the indemnitor. This Court found
  contract ... provided, however, that the foregoing       that would be a result “we cannot envision as being
  indemnification shall not cover loss, damage or          intended.” Id. Similarly, in the instant case we can-
  liability arising from the sole negligence of the        not envision that the parties to the lease intended
  Company.... Contractor shall at its own cost and         PO Ports to be required to defend a claim brought
  expense defend any such claim, suit, action or           against the Dock Board prior to a finding that the
  proceeding, whether groundless or not ... and            Dock Board was not negligent in connection with
  Contractor shall pay any and all judgments which         the claim.
  may be recovered in any such action ... and de-
  fray any and all expenses, including costs and at-            In Coleman v. Transit Management of South-
  torney's fees, .... (emphasis ours)                      east Louisiana, Inc., 98-1511 (La.App. 4 Cir.
                                                           11/10/98), 723 So.2d 495, this Court again con-
    1997-1483, pp. 2-3, 705 So.2d at 1288.                 sidered the duty to defend under an indemnification
                                                           agreement. In that case the trial court granted an in-
     In the Thibodeaux case, the indemnitee, in
                                                           demnitee's motion for summary judgment and
whose favor the indemnity provision had been ex-
                                                           ordered the indemnitor to provide a defense to the
ecuted, argued that the provision obligated the in-
                                                           indemnitee. The trial court judge interpreted the in-
demnitor to provide a defense for the indemnitee.
                                                           demnity provision to require that the indemnitor
The indemnitee further argued that the indemnitors
                                                           bear all costs of the defense. The trial court judge
obligation to defend the indemnitee was separate
                                                           then held that if the indemnitee should be proven to
and apart from any question of the indemnitors po-
                                                           be solely at fault with respect to the claim against
tential liability under the indemnity provision. This
                                                           it, then the indemnitor would be entitled to reim-
Court determined that, under the indemnity provi-
                                                           bursement of the *327 amounts it had paid on be-
sion quoted above, the indemnitors duty to defend
                                                           half of the indemnitee. This Court held that there
was triggered only in those instances where the in-
                                                           was a distinction between an insurer's obligation to
demnitors negligence was a contributing cause of
                                                           defend its insured and an indemnitor's obligation to
the claim against the indemnitee. This Court noted
                                                           an indemnitee for the costs of a defense. This Court
that were the provision to be interpreted otherwise,
                                                           cited the Meloy case and the Webb case and dis-
then the indemnitor would be required to defend
                                                           cussed the proposition that a cause of action against
any suit brought against the indemnitee.
                                                           an indemnitor for defense costs arises after the ter-
    In the Thibodeaux case this Court noted that           mination of the lawsuit against the indemnitee and
the language requiring indemnification of the in-          is contingent upon the indemnitee being free from
demnitee also required that the indemnitee must not        fault in connection with the claims against it in the




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underlying lawsuit. This Court then reversed the tri-       on the freedom from negligence on the part of the
al court's decision.                                        Dock Board. We disagree.

     [1] **11 In Roundtree v. The New Orleans Avi-               [2] It is well settled in Louisiana jurisprudence
ation Board, 2002-1757 (La.App. 4 Cir. 4/9/03),             that a contractual indemnity agreement will not be
844 So.2d 1091, this Court again considered wheth-          construed to require the indemnitor to indemnify
er the duty to defend under an indemnity agreement          the indemnitee for the indemnitee's own negligence.
arose prior to a judgment against the indemnitee.           In Polozola v. Garlock, 343 So.2d 1000 (La.1977),
The provisions of the relevant indemnity agreement          the Louisiana Supreme Court stated as follows:
read in pertinent part as follows:
                                                                  A contract of indemnity whereby the indemnit-
     6. Indemnification. The Contractor agrees to               ee is indemnified against the consequences of his
  indemnify, defend by counsel acceptable to the                own negligence is strictly construed, and such a
  Board and hold harmless the City of New Or-                   contract will not be construed to indemnify an in-
  leans, the New Orleans Aviation Board ... from                demnitee against losses resulting to him through
  any and all claims ... losses, damages or expense             his own negligent act, unless such an intention
  incurred by the Board resulting from the Con-                 was expressed in unequivocal terms.
  tractor's performance of its obligations....
                                                                343 So.2d at 1003. See also Perkins v. Ru-
    2002-1757, p. 6, 844 So.2d 1094-95. The trial           bicon, Inc., 563 So.2d 258, 259 (La.1990), where
court had ordered the indemnitor to defend the in-          the Supreme Court stated that “a contract will not
demnitee. This Court reversed the trial court on this       be construed to indemnify an indemnitee against
issue, however, because there was nothing in the in-        losses resulting to him through his own negligence
demnity agreement to indicate that the parties in-          *328 unless such an intention is expressed in un-
tended for the indemnitee to be indemnified in the          equivocal terms.”
event of its own negligence. Therefore, since the is-
sue of negligence had not yet been tried, it was er-            This Court has also ruled that an indemnitor is
ror for the trial court to require the indemnitor to        not obligated to indemnify an indemnitee against
defend the indemnitee.                                      the indemnitee's own fault absent a clear, unequi-
                                                            vocal statement to that effect in the indemnity
     In the instant case the Dock Board argued in           agreement. See, e.g., Carr v. New Orleans, 626
oral argument that although the obligation of P & O         So.2d 374 (La.App. 4th Cir.1993); Federal Nation-
Ports to indemnify is dependent on a finding that           al Mortgage Association v. Sethi, 557 So.2d 354
the Dock Board was not negligent in connection              (La.App. 4th Cir.1990); Rosales v. Dixie Mill Sup-
with the Morellas' claims, the obligation to defend         ply Company, 376 So.2d 179 (La.App. 4th
the Dock Board is not contingent on a finding of            Cir.1979).
negligence. The Dock Board based its argument on
the language in the lease stating that “[t]he above              In the instant case there is nothing in the in-
[the indemnity provisions] notwithstanding, Lessee          demnity provision that unequivocally states that the
shall not be obligated to indemnify this Board for          Dock Board will be indemnified for its own negli-
its negligence or fault or that of its officers, direct-    gence. In fact, the agreement expressly states that
ors, employees, representatives, agents or invitees.”       notwithstanding what is in the indemnification pro-
Because the word “defend” is not included with the          visions in the lease, P & O Ports “shall not be ob-
word “indemnify” in this provision, the Dock Board          ligated to indemnify this Board for its negligence or
contended that only **12 the obligation to                  fault.” This language unequivocally **13 states that
“indemnify”, not the duty to defend, is contingent          P & O Ports' duty to indemnify is conditioned upon




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a lack of fault on the part of the Dock Board.             are premature.

     [3] Under Louisiana law absent an unequivocal                             CONCLUSION
agreement to the contrary, contractual indemnity                The judgment of the trial court that P & O
agreements do not cover situations in which the in-        Ports owes the Dock Board a duty to defend the
demnitee is found to be at fault. The language in          Dock Board at this time is hereby reversed. Insofar
the lease in this case simply states what the law in       as the trial court ruling finds that indemnification is
Louisiana already provides. The omission of the            not owed at this time to the Dock Board by P & O
word “defend” from the lease provision quoted in           Ports, that part of the ruling is affirmed. This case
the preceding paragraph cannot in any way be con-          is hereby remanded to the trial court for further pro-
strued as unequivocally providing that P & O Ports         ceedings in accordance with this opinion.
is obligated to defend the Dock Board from its own
negligence. The only way the Dock Board could be              *329 AFFIRMED IN PART, REVERSED IN
entitled to have P & O Ports defend it prior to a de-      PART AND REMANDED.
termination that the Dock Board was free from fault
                                                           La.App. 4 Cir.,2004.
in connection with the Morellas' claims would be
                                                           Morella v. Board of Com'rs of Port of New Orleans
by having an express, unequivocal provision af-
                                                           888 So.2d 321, 2004-0312 (La.App. 4 Cir.
firmatively stating that P & O Ports agreed to de-
                                                           10/27/04)
fend the Dock Board without regard to fault on the
part of the Dock Board. There is no such provision         END OF DOCUMENT
in the lease. Therefore, the obligation of P & O
Ports to indemnify and defend the Dock Board does
not arise until there has been a determination that
the claims made against the Dock Board by the Mo-
rellas were not the fault of the Dock Board, and the
issue of the Dock Board's fault has not yet been de-
termined by the trial court.

     We find that the trial court erred in holding that
P & O Ports has a duty to defend the Dock Board at
this point in the instant case. The issue of whether
the lease requires P & O Ports to indemnify the
Dock Board for attorneys' fees and other obliga-
tions that the Dock Board incurs in connection with
the instant case cannot be decided until there is a
decision regarding the Dock Board's fault in con-
nection with the Morellas' claims. The obligation of
P & O Ports to indemnify and defend the Dock
Board is contingent upon the Dock Board's lack of
**14 negligence. Because the Dock Board's negli-
gence or lack thereof has not yet been determined,
any obligations that P & O Ports has under the in-
demnity provisions of the lease to indemnify and
defend the Dock Board have not yet arisen. There-
fore, the Dock Board's claims against P & O Ports




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                                                           manded.

        Court of Appeals of Arizona,                                          West Headnotes
         Division 1, Department E.
MT BUILDERS, L.L.C., Third Party Plaintiff/Ap-             [1] Indemnity 208       31(1)
                  pellee,
                                                           208 Indemnity
                     v.
                                                              208II Contractual Indemnity
FISHER ROOFING INC., Third Party Defendant/
                                                                  208k31 Construction and Operation of Con-
                 Appellant.
                                                           tracts
               No. 1 CA-CV 07-0590.                                 208k31(1) k. In general. Most Cited Cases
                   Nov. 13, 2008.                               When there is an express indemnity agreement
                                                           between parties, the extent of the duty to indemnify
Background: Condominium association brought                must be determined from that agreement.
construction defect action against general contract-
or and subcontractors. General contractor filed            [2] Contracts 95       143(1)
cross-claim seeking indemnity from subcontractors,
                                                           95 Contracts
including roofing subcontractor. After general con-
                                                              95II Construction and Operation
tractor settled association's claims, the Superior
                                                                  95II(A) General Rules of Construction
Court in Maricopa County, No. CV 2001-001794,
                                                                       95k143 Application to Contracts in Gen-
Paul A. Katz, J., granted general contractor sum-
                                                           eral
mary judgment on its claim against roofing subcon-
                                                                           95k143(1) k. In general. Most Cited
tractor. Roofing subcontractor appealed.
                                                           Cases
Holdings: The Court of Appeals, Norris, J., held                When parties bind themselves by a lawful con-
that:                                                      tract the terms of which are clear and unambiguous,
(1) general contractor had a valid indemnity claim         a court must give effect to the contract as written.
arising out of settlement with condominium associ-
                                                           [3] Indemnity 208       31(1)
ation, as indemnification provision in contract with
subcontractor was a an agreement to indemnify for          208 Indemnity
loss;                                                         208II Contractual Indemnity
(2) indemnity provision required general contractor               208k31 Construction and Operation of Con-
to prove subcontractor's fault;                            tracts
(3) subcontractor did not lose the right to dispute its             208k31(1) k. In general. Most Cited Cases
fault when it rejected general contractor's tender of
defense;                                                   Indemnity 208        31(2)
(4) general contractor's settlement did not preclude
subcontractor from disputing the existence and ex-         208 Indemnity
tent of its indemnity liability; and                          208II Contractual Indemnity
(5) general issues of material fact precluded sum-                  208k31 Construction and Operation of Con-
mary judgment on general contractor's indemnity            tracts
claim.                                                                   208k31(2) k. Intention of the parties.
                                                           Most Cited Cases
    Affirmed in part, reversed in part, and re-                 If the meaning of an indemnity provision re-




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mains uncertain after consideration of the parties'       contractor and roofing subcontractor was an agree-
intentions, as reflected by their language in view of     ment to indemnify for loss, given that the provision
surrounding circumstances, a secondary rule of            obligated subcontractor to indemnify and hold gen-
construction requires the provision to be construed       eral contractor harmless from and against all
against the drafter.                                      claims, damages, losses, and expenses under certain
                                                          specified conditions and did not limit or restrict
[4] Indemnity 208       42                                losses to losses incurred through entry of judgment,
                                                          and the association's claim against general contract-
208 Indemnity
                                                          or relating to roofing subcontractor rested on al-
   208II Contractual Indemnity
                                                          leged defects and negligent workmanship growing
         208k42 k. Accrual of liability. Most Cited
                                                          out of subcontractor's work under the subcontract.
Cases
     A contractual right of indemnity may accrue          [7] Indemnity 208         31(4)
upon the happening of one or both of two events;
“indemnification against liability” applies once li-      208 Indemnity
ability for a cause of action is established under           208II Contractual Indemnity
which the indemnitee is not required to make actual              208k31 Construction and Operation of Con-
payment, while, in contrast, “indemnification             tracts
against loss or damages” applies when the indem-                     208k31(4) k. Subject-matter in general.
nitee has actually paid the obligation for which he       Most Cited Cases
was found liable.
                                                          Indemnity 208        42
[5] Indemnity 208       31(4)
                                                          208 Indemnity
208 Indemnity                                                208II Contractual Indemnity
   208II Contractual Indemnity                                      208k42 k. Accrual of liability. Most Cited
       208k31 Construction and Operation of Con-          Cases
tracts                                                         Indemnification against a loss encompasses a
           208k31(4) k. Subject-matter in general.        loss incurred through a settlement as long as the
Most Cited Cases                                          loss is covered by the indemnity agreement.
     An agreement may provide for both types of
indemnification, indemnification against liability        [8] Indemnity 208         57
and indemnification against loss or damages.
                                                          208 Indemnity
[6] Indemnity 208       33(5)                                 208III Indemnification by Operation of Law
                                                                     208k56 Right of One Compelled to Pay
208 Indemnity                                             Against Person Primarily Liable
    208II Contractual Indemnity                                     208k57 k. In general. Most Cited Cases
       208k33 Particular Cases and Issues                      In general, in an action for common law indem-
           208k33(5) k. Contractors, subcontractors,      nity, the indemnity plaintiff must show: (1) it has
and owners. Most Cited Cases                              discharged a legal obligation owed to a third party;
     General contractor had a valid indemnity claim       (2) the indemnity defendant was also liable to the
against roofing subcontractor arising out of general      third party; and (3) as between itself and the de-
contractor's settlement of construction defect action     fendant, the obligation should have been discharged
brought by condominium association, as the indem-         by the defendant.
nification provision in contract between general
                                                          [9] Indemnity 208         57




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208 Indemnity                                              render it, and fund it now, before the insured's or
   208III Indemnification by Operation of Law              indemnitee's default is taken, or trial preparation is
          208k56 Right of One Compelled to Pay             compromised.
Against Person Primarily Liable
         208k57 k. In general. Most Cited Cases            [12] Indemnity 208        33(5)

Indemnity 208        81                                    208 Indemnity
                                                              208II Contractual Indemnity
208 Indemnity                                                    208k33 Particular Cases and Issues
   208III Indemnification by Operation of Law                        208k33(5) k. Contractors, subcontractors,
          208k81 k. Accrual of liability. Most Cited       and owners. Most Cited Cases
Cases
     Absent consent or fault of the defendant, the         Indemnity 208        42
plaintiff in a common law indemnity action must
                                                           208 Indemnity
show it has extinguished its own and the defend-
                                                               208II Contractual Indemnity
ant's liability to prove it has discharged an obliga-
                                                                     208k42 k. Accrual of liability. Most Cited
tion to a third party.
                                                           Cases
[10] Indemnity 208        32                                    Indemnity provision in contract between gener-
                                                           al contractor and roofing subcontractor required
208 Indemnity                                              general contractor to prove the extent of subcon-
   208II Contractual Indemnity                             tractor's negligence, in order for general contractor
       208k32 k. Concurrent fault; active or passive       to recover indemnity damages and the expenses
negligence. Most Cited Cases                               general contractor incurred in defending against
                                                           claims based on subcontractor's work, after general
Indemnity 208        42                                    contractor settled construction defect action
                                                           brought by condominium association; indemnity
208 Indemnity
                                                           provision created a narrow form of indemnification
   208II Contractual Indemnity
                                                           as it limited subcontractor's indemnity obligation to
         208k42 k. Accrual of liability. Most Cited
                                                           the extent caused in whole or in part by any negli-
Cases
                                                           gent act or omission of the subcontractor.
    Parties to an indemnity agreement can agree to
dispense with the common law indemnity require-            [13] Indemnity 208        43
ment that the indemnitee must show it has extin-
guished its own and the indemnitor's liability.            208 Indemnity
                                                              208II Contractual Indemnity
[11] Indemnity 208        31(7)                                    208k43 k. Accrual of duty to defend. Most
                                                           Cited Cases
208 Indemnity
                                                               Under indemnity provision in contract with
   208II Contractual Indemnity
                                                           general contractor, roofing subcontractor did not
        208k31 Construction and Operation of Con-
                                                           lose the right to dispute its fault when it rejected
tracts
                                                           general contractor's tender of defense and failed to
           208k31(7) k. Duty to defend. Most Cited
                                                           defend general contractor against claims based on
Cases
                                                           subcontractor's work by condominium association
     A defense obligation, for purposes of an in-
                                                           in construction defect action; indemnity provision
demnity agreement or insurance contract, is of ne-
                                                           only required subcontractor to indemnify and hold
cessity a current obligation; the idea is to mount it,




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general contractor harmless against claims “to the        ited from construing one provision in a contract so
extent” caused in whole in or part by subcontract-        as to render another provision meaningless.
or's negligence, and such language envisioned a de-
termination of subcontractor's fault before subcon-       [17] Indemnity 208        59
tractor would be required to indemnify and preven-
                                                          208 Indemnity
ted an interpretation of the provision as creating a
                                                             208III Indemnification by Operation of Law
duty to defend.
                                                                    208k56 Right of One Compelled to Pay
[14] Appeal and Error 30        1079                      Against Person Primarily Liable
                                                                        208k59 k. Relative culpability. Most
30 Appeal and Error                                       Cited Cases
   30XVI Review                                                Under common law indemnity, the party seek-
       30XVI(K) Error Waived in Appellate Court           ing indemnification must be proven free from negli-
           30k1079 k. Insufficient discussion of ob-      gence.
jections. Most Cited Cases
     Roofing subcontractor, on appeal in action by        [18] Indemnity 208        30(1)
general contractor to enforce indemnity agreement
                                                          208 Indemnity
after general contractor settled construction defect
                                                             208II Contractual Indemnity
action brought by condominium association,
                                                                208k26 Requisites and Validity of Contracts
waived arguments that even if it owed general con-
                                                                     208k30 Indemnitee's Own Negligence or
tractor a duty to defend its performance of that duty
                                                          Fault
was excused because it had an inherent conflict of
                                                                          208k30(1) k. In general. Most Cited
interest with general contract and general contractor
                                                          Cases
had never properly tendered its defense, where sub-
                                                              Unless expressed in clear and unequivocal
contractor, without any analysis, raised the argu-
                                                          terms, a contractual indemnity provision will not be
ments in a one sentence footnote.
                                                          construed to protect an indemnitee against its own
[15] Contracts 95       143.5                             negligence.

95 Contracts                                              [19] Indemnity 208        85
   95II Construction and Operation
                                                          208 Indemnity
      95II(A) General Rules of Construction
                                                              208IV Conclusiveness of Former Adjudication
              95k143.5 k. Construction as a whole.
                                                                 208k85 k. In general. Most Cited Cases
Most Cited Cases
                                                               General contractor's settlement of construction
    A cardinal rule of contract construction re-
                                                          defect action brought against it by condominium as-
quires courts to look at the agreement as a whole,
                                                          sociation did not preclude subcontractor, whose
reading each part in light of all other parts.
                                                          contract with general contractor contained an in-
[16] Contracts 95       143.5                             demnity provision, from disputing the existence and
                                                          extent of its indemnity liability to general contract-
95 Contracts                                              or.
   95II Construction and Operation
      95II(A) General Rules of Construction               [20] Indemnity 208        41
             95k143.5 k. Construction as a whole.
                                                          208 Indemnity
Most Cited Cases
                                                             208II Contractual Indemnity
    When construing contracts, courts are prohib-
                                                                 208k41 k. Notice of settlement. Most Cited




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Cases                                                           The test as to whether a settlement by the in-
                                                           demnitee was reasonable and prudent, in an action
Indemnity 208        42                                    by an indemnitee against an indemnitor to enforce
                                                           an indemnity agreement, is what a reasonably
208 Indemnity
                                                           prudent person in the indemnitee's position would
   208II Contractual Indemnity
                                                           have settled for on the merits of the claimant's case,
          208k42 k. Accrual of liability. Most Cited
                                                           which involves evaluating the facts bearing on the
Cases
                                                           liability and damage aspects of claimant's case, as
     When an indemnitee settles a lawsuit covered
                                                           well as the risks of going to trial.
by an indemnity agreement, it may obtain indem-
nity from its indemnitor if it gave the indemnitor         [24] Indemnity 208         42
notice of the action and an opportunity to defend
and demonstrates the decision to settle was, under         208 Indemnity
the circumstances, reasonable and prudent, without            208II Contractual Indemnity
having to show it was actually liable to the third                  208k42 k. Accrual of liability. Most Cited
person, as long as the indemnitee can show its po-         Cases
tential liability.                                              Determining whether a settlement was reason-
                                                           able and prudent, when an indemnitee brings an ac-
[21] Indemnity 208        42                               tion against an indemnitor to enforce an indemnitee
                                                           agreement, requires the finder of fact to evaluate
208 Indemnity
                                                           the facts pertaining to liability, the claimed dam-
   208II Contractual Indemnity
                                                           ages, and the risks of going to trial and to compare
          208k42 k. Accrual of liability. Most Cited
                                                           these facts with the nature and size of the settle-
Cases
                                                           ment.
     An indemnitee is only entitled to indemnity
after it settles a claim by a third party if the third     [25] Indemnity 208         42
party's action was covered by the indemnity agree-
ment.                                                      208 Indemnity
                                                               208II Contractual Indemnity
[22] Indemnity 208        104                                       208k42 k. Accrual of liability. Most Cited
                                                           Cases
208 Indemnity
                                                                The reasonableness of an indemnitee's settle-
   208V Actions
                                                           ment, for purposes of determining whether the in-
         208k104 k. Questions for jury. Most Cited
                                                           demnitee is entitled to indemnification from the in-
Cases
                                                           demnitor, consists of two components which are in-
     Whether an indemnitee's decision to settle is
                                                           terrelated; a fact finder must look at the amount
reasonable and prudent under the circumstances
                                                           paid in settlement of the claim in light of the risk of
will normally present a question of fact, in an ac-
                                                           exposure, or the probable amount of a judgment if
tion by an indemnitee against an indemnitor to en-
                                                           the original plaintiff were to prevail at trial, bal-
force an indemnity agreement.
                                                           anced against the possibility that the original de-
[23] Indemnity 208        42                               fendant would have prevailed.

208 Indemnity                                              [26] Indemnity 208         42
   208II Contractual Indemnity
                                                           208 Indemnity
        208k42 k. Accrual of liability. Most Cited
                                                              208II Contractual Indemnity
Cases




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         208k42 k. Accrual of liability. Most Cited       contractor's settlement with association was reason-
Cases                                                     able and prudent, precluded summary judgment in
     The fact that the claim against the indemnitee       general contractor's action against subcontractor for
may have been successfully defended by a showing          indemnity pursuant to indemnification provision in
of contributory negligence, lack of negligence or         parties' contract.
otherwise, is but a part of the reasonableness ana-
lysis in an action by an indemnitee against an in-        [30] Indemnity 208        36
demnitor, and, therefore, subject to proof.
                                                          208 Indemnity
[27] Indemnity 208        100                                208II Contractual Indemnity
                                                                 208k34 Scope and Extent of Liability
208 Indemnity                                                       208k36 k. Costs and expenses. Most Cited
    208V Actions                                          Cases
       208k98 Evidence                                         Indemnity provision in contract between gener-
            208k100 k. Presumptions and burden of         al contractor and roofing subcontract allowed gen-
proof. Most Cited Cases                                   eral contractor to recover expert witness fees, if
     The burden is on the indemnitee to show its          general contractor was entitled to indemnity follow-
settlement was reasonable and prudent, in an action       ing settlement with condominium association in
against an indemnitor.                                    construction defect action, where provision author-
                                                          ized indemnity for all claims, damages, losses, and
[28] Indemnity 208        101                             expenses, including but not limited to attorney's
                                                          fees and court costs.
208 Indemnity
   208V Actions                                           **761 Lee Hernandez Kelsey Brooks Garofalo &
      208k98 Evidence                                     Blake, PC By LeeP. Blake, Litchfield Park, and
             208k101 k. Admissibility. Most Cited         Wood Smith Henning & Berman, LLP By Brenda
Cases                                                     Radmacher, Phoenix, Co-Counsel for Third Party
    Evidence relevant to the showing of whether an        Plaintiff/Appellee.
indemnitee's settlement was reasonable and
prudent, in an action against the indemnitor, will        Schneider & Onofry, PC By CharlesD. Onofry,
depend on the circumstances.                              Elda E. Orduno, Luane Rosen, Phoenix, and
                                                          Struckmeyer & Wilson By DonaldR. Wilson,
[29] Judgment 228        181(19)                          Phoenix, Co-Counsel for Third Party Defendant/Ap-
                                                          pellant.
228 Judgment
   228V On Motion or Summary Proceeding
       228k181 Grounds for Summary Judgment                                 *300 OPINION
          228k181(15) Particular Cases                    NORRIS, Judge.
              228k181(19) k. Contract cases in gen-           ¶ 1 This appeal arises out of a construction de-
eral. Most Cited Cases                                    fect lawsuit filed by a condominium association
     Genuine issues of material fact regarding the        against a general contractor, Appellee MT Builders,
extent and nature of alleged defects and negligence       L.L.C., and others. In response to the association's
in roofing subcontractor's work, what portion of          claims against it, MT Builders sought indemnity
general contractor's settlement with condominium          from its subcontractors, including Appellant Fisher
association in construction defect action was attrib-     Roofing Inc., under what is known as a “narrow
utable to subcontractor's fault, and whether general      form” indemnity provision that restricted indemnity




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“to the extent” of the subcontractor's*301 **762             the Owner, Architect and the Builder and all their
negligence. After MT Builders settled the associ-            agents and employees from and against all
ation's claims against it, MT Builders eventually            claims, damages, losses and expenses, including
obtained summary judgment on its indemnity claim             but not limited to attorney's fees and court costs,
against Fisher.                                              arising out of or resulting from the performance
                                                             or non performance [sic] of the Subcontractor's
     ¶ 2 On appeal, Fisher challenges the superior           Work under this Subcontract, provided that any
court's construction and application of the indem-           such claims, damage, loss or expense is attribut-
nity provision and argues the court should not have          able to bodily injury, sickness, disease, or death,
granted summary judgment against it because the              or to injury to or destruction of tangible property
facts regarding its own negligence and the reason-           including the loss of use resulting therefrom, to
ableness of MT Builders' settlement with the asso-           the extent caused in whole or in part by any neg-
ciation were in dispute. In part, we agree. Further,         ligent act or omission of the Subcontractor or
we agree with Fisher that it was not barred from             anyone directly or indirectly employed by him or
contesting these matters because it failed to accept         anyone for whose acts he may be liable, regard-
MT Builders' tender of defense. Accordingly, we              less of whether it is caused in part by a party in-
affirm in part, reverse in part, and remand for fur-         demnified thereunto. Such obligations shall not
ther proceedings consistent with this opinion.               be construed to negate, or abridge, or otherwise
                                                             reduce any other right or obligations of indemnity
     FACTS AND PROCEDURAL HISTORY
                                                             which would otherwise exist as to any party or
     ¶ 3 In January 2001, MV Condominium Asso-
                                                             person described in this paragraph.
ciation, Inc. (“Association”) filed a construction de-
fect lawsuit against various entities involved in the          ¶ 5 In late 2002, MT Builders, along with sev-
development, sale and construction of a condomini-         eral others, entered into a settlement agreement
um project, including the project's general contract-      with the Association (“the settlement”). In ex-
or, MT Builders, and its roofing subcontractor,            change for $1,750,000 (“settlement sum”) from MT
Fisher. The Association claimed MT Builders, Fish-         Builders, the Association released its claims against
er and other defendant subcontractors had breached         MT Builders. The Association also assigned to MT
implied warranties of workmanlike performance,             Builders its direct claims against several of the de-
fitness and habitability. MT Builders, Fisher and          fendant subcontractors, including Fisher. Fisher
the other defendant subcontractors denied the Asso-        was not a party to MT Builders' settlement agree-
ciation's claims.                                          ment with the Association.

     ¶ 4 Subsequently, seeking indemnity and as-                ¶ 6 After protracted and extensive briefing, see
serting breach of a duty to defend, MT Builders            infra ¶¶ 39-48, the superior court subsequently
filed a cross-complaint against Fisher and the other       entered summary judgment for MT Builders on its
defendant subcontractors and a third-party com-            indemnity claim against Fisher. The judgment
plaint against other subcontractors not initially sued     awarded MT Builders $240,523 in indemnity dam-
by the Association. MT Builders rested its claims          ages and $113,685.50 in attorneys' fees and defense
against all of the subcontractors on an indemnity          costs it had incurred in defending itself against the
provision contained in the standard subcontract            Association's claims and in seeking indemnity from
agreement it had used with all of the subcontract-         Fisher.
ors. This provision provided as follows:
                                                                ¶ 7 Fisher timely appealed. We have jurisdic-
  20. To the fullest extent permitted by law, the          tion pursuant to Article 6, Section 9, of the Arizona
  Subcontractor shall indemnify and hold harmless          Constitution and Arizona Revised Statutes




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(“A.R.S.”) sections 12-120.21(A)(1) and -2101(B)           n. 9, 854 P.2d 1134, 1144 n. 9 (1993); Allison Steel
(2003).                                                    Mfg. Co. v. Superior Court, 22 Ariz.App. 76, 80,
                                                           523 P.2d 803, 807 (1974) (court “inclined” to con-
                     DISCUSSION                            strue indemnity provision against general contractor
I. Validity of the Indemnity Claim                         because it occupied better bargaining position and
     ¶ 8 As an initial matter, Fisher argues, as it did    drafted the agreement).
in the superior court, that MT Builders *302 **763
did not have a valid indemnity claim because MT                 [4][5] ¶ 11 “A contractual right of indemnity
Builders' settlement with the Association failed to        may accrue upon the happening of one or both of
discharge any claims the Association had against           two events. Indemnification against liability applies
Fisher. Fisher further argues the Association's as-        once liability for a cause of action is established;
signment of its direct claims against Fisher to MT         the indemnitee is not required to make actual pay-
Builders means these claims were never extin-              ment.” INA, 150 Ariz. at 253, 722 P.2d at 980. In
guished and, thus, MT Builders never suffered any          contrast, indemnification against loss or damages
loss on those claims.                                      applies “when the indemnitee has actually paid the
                                                           obligation for which he was found liable.” Id. An
    ¶ 9 Fisher's argument is not well taken; it rests      agreement may provide for both types of indemni-
on a fundamental misunderstanding of its obliga-           fication.
tions under the indemnity provision at issue in this
case and what those obligations mean.                           [6][7] ¶ 12 The indemnification provision at is-
                                                           sue here obligated Fisher to “indemnify and hold
     [1][2][3] ¶ 10 Whether MT Builders had a val-         harmless” MT Builders “from and against all
id indemnity claim requires us to interpret the in-        claims, damages, losses and expenses” under cer-
demnity provision and thus presents a question of          tain specified conditions. This wording constitutes
law we review de novo. Thomas v. Liberty Mut. Ins.         an agreement to indemnify for loss. Cf. Skousen v.
Co., 173 Ariz. 322, 324, 842 P.2d 1335, 1337               W.C. Olsen Inv. Co., 149 Ariz. 251, 253, 717 P.2d
(App.1992). When, as here, there is an express in-         930, 932 (App.1986) (contracts requiring party to
demnity agreement between parties, the extent of           save or hold other party harmless “have been inter-
the duty to indemnify must be determined from that         preted to protect against only actual loss or dam-
agreement. INA Ins. Co. of N. Am. v. Valley Forge          age”). The indemnification provision did not limit
Ins. Co., 150 Ariz. 248, 252, 722 P.2d 975, 979            or restrict losses to losses incurred through entry of
(App.1986). And, when, as here, parties bind them-         a judgment. Indemnification against a loss encom-
selves “by a lawful contract the terms of which are        passes a loss incurred through a settlement as long
clear and unambiguous, a court must give effect to         as the loss is covered by the indemnity agreement.
the contract as written.” Grubb & Ellis Mgmt.              S. Ry. Co. v. Georgia Kraft Co., 823 F.2d 478,
Servs., Inc. v. 407417 B.C., LLC, 213 Ariz. 83, 86,        480-81 (11th Cir.1987); Kaydon Acquisition Corp.
¶ 12, 138 P.3d 1210, 1213 (App.2006). But, as with         v. Custom Mfg., Inc., 301 F.Supp.2d 945, 959
all contracts, if the meaning of an indemnity provi-       (N.D.Iowa 2004) (citing cases); Peerless Landfill
sion remains uncertain after consideration of the          Co. v. Haleyville Solid Waste Disposal Auth., 941
parties' intentions, as reflected by their language in     So.2d 312, 317 (Ala.Civ.App.2006); Maurice T.
view of surrounding circumstances, a secondary             Brunner, Annotation, Liability of Subcontractor
rule of construction requires the provision to be          Upon Bond or Other Agreement Indemnifying Gen-
construed against the drafter. First Am. Title Ins.        eral Contractor Against Liability for Damage to
Co. v. Action Acquisitions, LLC, 218 Ariz. 394,            Person or Property § 9, 68 A.L.R.3d 7, 61-63
397, ¶ 8, 187 P.3d 1107, 1110 (2008); Taylor v.            (1976).
State Farm Mut. Auto. Ins. Co., 175 Ariz. 148, 158




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     [8][9][10] ¶ 13 The record reflects the Associ-                  element. Am. & Foreign Ins. Co. v. Allstate
ation's claims against MT Builders relating to Fish-                  Ins. Co., 139 Ariz. 223, 225, 677 P.2d
er rested on alleged defects and negligent work-                      1331, 1333 (App.1983) (citing Restate-
manship growing out of Fisher's work under the                        ment (First) of Restitution § 76 (1937));
                                           FN1
subcontract (“Fisher-based claims”).               MT                 Moore Excavating, Inc. v. Consol. Supply
Builders paid the Association *303 **764 the set-                     Co., 186 Or.App. 324, 63 P.3d 592, 595
tlement sum to settle the Fisher-based claims be-                     (2003). However, as this case illustrates,
cause it was potentially liable for Fisher's allegedly                parties to an indemnity agreement can
defective work. In so doing, it incurred a loss. This                 agree to dispense with the common law in-
loss did not become a “non-loss” because the Asso-                    demnity requirement that the indemnitee
ciation assigned its direct claims against Fisher to                  must show it has extinguished its own and
MT Builders. Nothing in the indemnity provision                       the indemnitor's liability. Cf. Schweber
conditioned MT Builder's indemnification rights on                    Elec. v. Nat'l Semiconductor Corp., 174
obtaining a discharge for Fisher of Fisher's poten-                   Ariz. 406, 410, 850 P.2d 119, 123
                                   FN2
tial liability to the Association.      AS A MAT-                     (App.1992) (“When the parties expressly
TER OF LAW, mt builders had A VALid indem-                            agree upon indemnity provisions in their
nity claim against Fisher, and the Association's as-                  contract, the extent of the duty is defined
signment of its direct claims against Fisher to MT                    by the contract itself rather than common
Builders did not change that.                                         law principles.”).

         FN1. Under its subcontract with MT Build-         II. Fault, the Duty to Defend, Preclusion and Reas-
         ers, Fisher was to “furnish all material and      onableness
         labor to install all tile and built-up roofing
         for 16 ea. apartment bldgs., clubhouse and        A. Fault
         5 ea. detached garage bldgs. per plans”;
                                                                ¶ 14 Fisher next argues MT Builders was not
         “dormer vents and painting of such in-
                                                           entitled to recover indemnity damages and the ex-
         cluded”; “inspect roofs prior to roofing for
                                                           penses it incurred in defending against the Fisher-
         proper nailing and blocking-report any
                                                           based claims except to the extent those damages
         problems to the job superintendent”; and
                                                           and expenses were caused by its (that is, Fisher's)
         “comply with OSHA full protection re-
                                                           negligent work. In other words, it argues its indem-
         quirements.”
                                                           nity obligation was limited to only those losses and
         FN2. In general, in an action for common          expenses caused by its own fault (causation plus
         law indemnity, the indemnity plaintiff            negligence equals fault). Cf. Hutcherson v. City of
         must show, first, it has discharged a legal       Phoenix, 192 Ariz. 51, 53-54, ¶¶ 15-17, 961 P.2d
         obligation owed to a third party; second,         449, 451-52 (1998) (citing A.R.S. § 12-2506(F)(2)
         the indemnity defendant was also liable to        which defines “fault” as “an actionable breach of
         the third party; and third, as between itself     legal duty, act or omission proximately causing or
         and the defendant, the obligation should          contributing to injury or damages sustained by a
         have been discharged by the defendant.            person seeking recovery, including negligence”).
         Absent consent or fault of the defendant,
                                                                [11] ¶ 15 In response, MT Builders argues it
         the plaintiff must show it has extinguished
                                                           did not need to prove fault to obtain indemnifica-
         its own and the defendant's liability to
                                                           tion. Alternatively, it asserts Fisher lost or forfeited
         prove it has discharged the obligation to
                                                           the right to dispute fault, and thus indemnity liabil-
         the third party in satisfaction of the first
                                                           ity, because it failed to accept MT Builders' tender




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of defense. This argument presupposes the indem-                ¶ 17 The provision limited Fisher's indemnity
nity provision imposed on Fisher a duty to defend          obligation “to the extent caused in whole or in part
MT Builders against the Association's Fisher-based         by any negligent act or omission of the Subcon-
        FN3                                                          FN4
claims.                                                    tractor.”       The word “negligent” modifies the
                                                           words “act” and “omission” and imposes a fault
        FN3. A duty to defend is a “specific oblig-        standard. Cf. Justin Sweet, Sweet on Construction
        ation to assume, upon tender, the defense          Industry Contracts: Major AIA Documents § 20.7,
        obligations and costs of another.” Steven          at 553 (2d ed.1992) (discussing indemnity provi-
        G.M. Stein & Shorge K. Sato, Advanced              sion in AIA Document A201-1987, General Condi-
        Analysis of Contract Risk-Shifting Provi-          tions of the Contract for Construction, ¶ 3.18.1).
        sions: Is Indemnity Still Relevant?, 27            This language creates what is known as a “narrow
        Construction Lawyer 5, 9 (Fall 2007). Or,          form” of indemnification-the indemnitor's obliga-
        as described in Crawford v. Weather                tion only covers the indemnitee's losses to the ex-
        Shield Mfg., 38 Cal.Rptr.3d 787, 806               tent caused by the indemnitor or a person the in-
        (Cal.Ct.App.2006), aff'd, 44 Cal.4th 541,          demnitor supervises or is responsible for
        79 Cal.Rptr.3d 721, 187 P.3d 424 (2008):           (collectively, “supervisees”). See generally Justin
        “A defense obligation is of necessity a cur-       Sweet & Jonathan J. Sweet, Sweet on Construction
        rent obligation. The idea is to mount it,          Industry Contracts: Major AIA Documents § 19.02,
        render it, and fund it now, before the in-         at 622 (4th ed. 1999 & Supp.2007).
        sured's-or indemnitee's-default is taken, or
        trial preparation is compromised.”                          FN4. The provision also limited Fisher's
                                                                    indemnity obligation to losses and ex-
     [12] ¶ 16 To resolve these arguments, which                    penses caused by and linked to its work
present issues of law subject to de novo review, see                (“arising out of or resulting from the per-
Thomas, 173 Ariz. at 324, 842 P.2d at 1337, we be-                  formance or non performance [sic] of the
gin again with the specific language of the indemni-                Subcontractor's Work under this Subcon-
fication provision. That provision obligated Fisher                 tract”). As one commentator has recog-
to:                                                                 nized, “Nearly every indemnity provision
                                                                    contains language limiting the indemnitor's
  [I]ndemnify and hold harmless ... [MT Builders]
                                                                    obligation to loss occasioned in some way
  ... from and against all claims, damages, losses
                                                                    or another to the activities or work of the
  and expenses, including but not limited to attor-
                                                                    indemnitor. Frequently, this limitation will
  ney's fees and court costs, arising out of or result-
                                                                    begin with the phrase ‘arising out of.’ ” 3
  ing from the performance or non performance
                                                                    Philip L. Bruner & Patrick O'Connor, Jr.,
  [sic] of the Subcontractor's Work under this Sub-
                                                                    Bruner and O'Connor on Construction
  contract ... to the extent caused in whole or in
                                                                    Law § 10:58 (2002 & Supp.2008) (footnote
  part by any negligent act or omission of the Sub-
                                                                    omitted).
  contractor or anyone directly or indirectly em-
  ployed by him or anyone for *304 **765 whose                  ¶ 18 Although the parties have not cited, nor
  acts he may be liable, regardless of whether it is       have we found, any reported Arizona case constru-
  caused in part by a party indemnified thereunto.                                                     FN5
                                                           ing the indemnity language at issue here,       other
                                                           courts have construed this or virtually identical lan-
     Based on the plain language of this indemnity
                                                           guage as creating a comparative fault or negligence
provision, we agree with Fisher that, to obtain in-
                                                           arrangement whereby the indemnitor's liability is
demnity, MT Builders was required to prove the ex-
                                                           limited “to the extent” it and its supervisees were at
tent of Fisher's fault.




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       FN6
fault.     East-Harding, Inc. v. Horace A. Piazza &            [13][14] ¶ 19 The issue then becomes: did
Assocs., 80 Ark.App. 143, 91 S.W.3d 547, 551              Fisher lose the right to dispute its fault when it re-
(2002); Hagerman Constr. Corp. v. Long Elec. Co.,         jected MT Builders' tender of defense and failed to
741 N.E.2d 390, 392-95 (Ind.Ct.App.2000); MSI             defend MT Builders against the Association's Fish-
                                                                             FN7
Constr. Managers, Inc. v. Corvo Iron Works, Inc.,         er-based claims?       MT *305 **766 Builders an-
208 Mich.App. 340, 527 N.W.2d 79, 81 (1995);              swers this question “yes,” reasoning Fisher's oblig-
Braegelmann v. Horizon Dev. Co., 371 N.W.2d               ation to hold it harmless necessarily required Fisher
644, 646-47 (Minn.Ct.App.1985); Nusbaum v. Kan-           to actually defend MT Builders against the Associ-
sas City, 100 S.W.3d 101, 105-07 (Mo.2003);               ation's claims. To decide whether, as MT Builders
Dillard v. Shaughnessy, Fickel & Scott Architects,        argues, Fisher owed it a duty to defend, which it
Inc., 884 S.W.2d 722, 724-25 (Mo.Ct.App.1994)             then breached, we again turn to the wording of the
(applying Kansas law); Mautz v. J.P. Patti Co., 298       indemnity provision.
N.J.Super. 13, 688 A.2d 1088, 1092-93
(App.Div.1997); Greer v. City of Philadelphia, 568                 FN7. In the superior court, Fisher unsuc-
Pa. 244, 795 A.2d 376, 379-82 (2002); Brown v.                     cessfully argued that even if it owed MT
Boyer-Washington Blvd. Assocs., 856 P.2d 352,                      Builders a duty to defend, its performance
354-55 (Utah 1993).                                                of that duty was excused because it had an
                                                                   “inherent” conflict of interest with MT
        FN5. Although worded differently, the in-                  Builders and MT Builders had never prop-
        demnity provision in INA only obligated                    erly tendered its defense. On appeal,
        the indemnitor to indemnify the indemnit-                  without any analysis, Fisher raises these
        ee against damages caused by an error or                   arguments in a one sentence footnote. We
        omission in the indemnitor's work. INA,                    decline to address these arguments and
        150 Ariz. at 251, 722 P.2d at 978; see also                deem them waived. See Schabel v. Deer
        infra ¶ 23.                                                Valley Unified Sch. Dist. No. 97, 186 Ariz.
                                                                   161, 167, 920 P.2d 41, 47 (App.1996)
        FN6. In Washington Elementary Sch. Dist.                   (“Issues not clearly raised and argued in a
        No. 6 v. Baglino Corp., 169 Ariz. 58, 60,                  party's appellate brief are waived.”).
        817 P.2d 3, 5 (1991), the indemnitor
        agreed to indemnify against loss caused “in            [15][16] ¶ 20 On its face, the indemnity provi-
        whole or in part by any negligent act or          sion did not require Fisher to defend MT Builders;
        omission of the [indemnitor] ... regardless       the word “defend” is notably absent. Instead, the
        of whether or not it is caused in part by a       parties agreed Fisher's obligation to indemnify and
        party indemnified hereunder.” Our su-             hold MT Builders harmless from and against all
                                                                  FN8
        preme court held this language was suffi-         claims        would be limited “to the extent caused
        ciently broad to require “coverage for any        in whole or in part by” Fisher's negligence. In our
        type of damage caused by the negligent be-        view, the “to the extent” phrase prevents any inter-
        havior of the indemnitor, even though also        pretation of the indemnity provision as creating a
                                                                          FN9
        caused in part by the active negligence of        duty to defend.      A claim is defended necessarily
        the party indemnified.” Id. at 62, 817 P.2d       before it is decided; but the language used here en-
        at 7. Thus, although the indemnity provi-         visioned a determination of Fisher's fault before
        sion required indemnitor fault, it did not        Fisher would be required to indemnify and hold MT
        limit the indemnitor's liability only to the      Builders harmless against all claims. We cannot
        extent of its fault.                              square the language of this indemnity provision
                                                          with a duty to defend existing in advance of a de-
B. The Duty to Defend




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termination of fault.                                              other provision meaningless.” Chandler
                                                                   Med., 175 Ariz. at 277, 855 P.2d at 791.
         FN8. We note, without expressing agree-                   Thus, we read the “against all claims” lan-
         ment, that some courts have held the duty                 guage relied upon by MT Builders in light
         to “indemnify and hold harmless” against                  of the “to the extent” language to conclude
         claims does not impose on the indemnitor                  Fisher did not owe MT Builders a duty to
         an immediate duty, upon request, to                       defend in advance of a determination of
         provide and pay for the ongoing defense of                Fisher's fault.
         claims against the indemnitee, regardless
         of the indemnitor's ultimate liability for             ¶ 21 Of significance is MT Builders' failure to
         those claims, when the indemnity provi-           explain what the language “to the extent caused in
         sion fails to impose on the indemnitor an         whole or in part by any negligent act or omission of
         explicit obligation to defend. These courts       the Subcontractor” means. Instead, relying princip-
         have interpreted this language as only re-        ally on this court's decision in INA, it argues we
         quiring the indemnitor to reimburse the in-       have recognized that the words “hold harmless ...
         demnitee for defense costs. See, e.g., Ro-        against all claims” require an indemnitor to defend
         gers & Babler v. State, 713 P.2d 795, 800         its indemnitee and, as in the insurance context, such
         (Alaska 1986) (citing cases); Miley v.            a duty exists without proof of fault because the duty
         Johnson & Johnson Orthopaedics, Inc., 41          to defend is broader than the duty to indemnify. MT
         Mass.App.Ct. 30, 668 N.E.2d 369, 372              Builders' reliance on INA is misplaced, and we are
         (1996); Linkowski v. Gen. Tire & Rubber           not persuaded, under the facts of this case, that an
         Co., 53 Ohio App.2d 56, 371 N.E.2d 553,           indemnitor and a liability insurer should be treated
                                                                      FN10
         557 (1977).                                       the same.

         FN9. MT Builders focuses on the language                  FN10. MT Builders also cites Hauskins v.
         in the indemnity provision requiring Fisher               McGillicuddy, 175 Ariz. 42, 852 P.2d 1226
         to indemnify and hold it harmless “against                (App.1992), review denied with clarifica-
         all claims” in arguing Fisher owed an im-                 tion, 177 Ariz. 279, 867 P.2d 849 (1994),
         mediate duty to defend MT Builders                        in support of its argument Fisher owed it a
         against the Fisher-based claims. However,                 duty to defend. In addressing the scope of
         a cardinal rule of contract construction re-              the indemnitor's duty to indemnify, we
         quires us to look at the agreement as a                   noted that under the indemnity provision at
         whole, reading each part in light of all oth-             issue in that case the indemnitor had a duty
         er parts. C & T Land & Dev. Co. v. Bush-                  to defend the indemnitee. Id. at 50, 852
         nell, 106 Ariz. 21, 22, 470 P.2d 102, 103                 P.2d at 1234. The indemnity provision
         (1970); Chandler Med. Bldg. Partners v.                   there did not explicitly require the indem-
         Chandler Dental Group, 175 Ariz. 273,                     nitor to defend the indemnitee; instead, it
         277, 855 P.2d 787, 791 (App.1993) (“A                     required the indemnitor to indemnify and
         contract must be construed so that every                  hold harmless the indemnitee “from all
         part is given effect, and each section of an              suits, actions or claims of any character
         agreement must be read in relation to each                brought because of any injuries or damage
         other to bring harmony, if possible,                      received or sustained by any person.” Id.
         between all parts of the writing.”). A corol-             The provision at issue in that case did not,
         lary rule prohibits us from construing “one               as it does here, include the “to the extent”
         provision in a contract so as to render an-               restriction.




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     ¶ 22 In INA, a homeowner sued her insurance                    FN11. Our statement that “[t]he duty to in-
carrier and its agent and asserted the carrier and the              demnify depends on whether the indemnit-
agent had wrongfully refused to pay her fire loss                   ee engaged in actual, active wrongdoing”
claim. 150 Ariz. at 250, 722 P.2d at 977. The agent                 must be considered in the context in which
tendered his defense to the insurance carrier pursu-                it was made. Under common law indem-
ant to an indemnification clause in his agency                      nity, the party seeking indemnification
agreement with the carrier. Id. at 251, 722 P.2d at                 must “be proven free from negligence.”
978. That clause required the carrier to indemnify                  Herstam v. Deloitte & Touche, LLP, 186
and hold harmless the agent *306 **767 against li-                  Ariz. 110, 118, 919 P.2d 1381, 1389
ability “you may become obligated to pay for dam-                   (App.1996) (quoting INA, 150 Ariz. at 255,
ages sustained and caused by our error or omission                  722 P.2d at 982). Similarly, unless
... provided you have not caused or contributed to                  “expressed in clear and unequivocal
such liability by your own acts, errors or omis-                    terms,” a contractual indemnity provision
sions.” Id. The carrier took the position the allega-               will not be construed to protect an indem-
tions of the homeowner's complaint controlled the                   nitee against its own negligence. Washing-
agent's right to indemnity and refused the tender be-               ton Elementary, 169 Ariz. at 61, 817 P.2d
cause the homeowner's complaint contained allega-                   at 6. The contractual indemnity provision
tions of wrongdoing by the agent. Id. Ultimately,                   at issue in INA did not protect the agent
the agent's professional errors and omissions in-                   against his own negligence. See supra ¶
surer (“E and O insurer”) defended the agent. Id.                   23.
After the homeowner's case was dismissed by stipu-
lation, the E and O insurer demanded the carrier               Id. at 255, 722 P.2d at 982 (citation omitted).
pay the attorneys' fees and costs it had incurred in
                                                                ¶ 24 We then rejected the carrier's argument
defending the agent. Id. The carrier refused, and the
                                                           that the agency agreement only provided indemni-
E and O insurer sued the carrier for indemnifica-
                                                           fication for damages, not attorneys' fees: “A party
tion. Id.
                                                           is not ‘held harmless' unless the indemnitor bears
     [17][18] ¶ 23 We rejected the carrier's argu-         the indemnitee's costs of defending the third party's
ment the allegations in the homeowner's complaint          claim.” Id.
controlled the agent's contractual right to indem-
                                                                ¶ 25 In discussing the carrier's indemnity oblig-
nity. Id. at 253, 722 P.2d at 980. After noting its ar-
                                                           ations to the agent, we did not, as MT Builders sug-
gument was premised in part on analogizing its po-
                                                           gests, establish a rule that a contractual promise to
sition to an insurer's duty to defend its insured, we
                                                           “hold harmless” by itself creates an immediate, up-
stated:
                                                           front duty to defend. Instead, we recognized an in-
  The duty to defend, however, is not the same as          demnitor's promise to hold harmless would allow
  the duty to indemnify. The duty to defend arises         an indemnitee to recover its defense costs if a claim
  at the earliest stages of litigation and generally       was made against it that entitled it to indemnifica-
                                                                 FN12
  exists regardless of whether the insured is ulti-        tion.       We held, absent a duty to indemnify, the
  mately found liable. The duty to indemnify de-           carrier was under no obligation to pay the E and O
  pends on whether the indemnitee engaged in ac-           insurer's defense costs. Id. We stated:
                              [FN11]
  tual, active wrongdoing.             The accrual of
                                                                    FN12. We note the indemnity provision in
  the obligation to provide a defense does not con-
                                                                    INA did not impose a separate and distinct
  trol the accrual of the obligation to indemnify.
                                                                    defense obligation. Thus, the only issue
                                                                    before us was whether a duty to hold harm-




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        less and indemnify against liability was                ¶ 26 Further, even if we were to assume an in-
        sufficiently broad enough to allow the in-         surance policy is analogous to an indemnity agree-
        demnitee to obtain reimbursement for its           ment, we have recognized the language of the in-
        defense costs.                                     surance policy controls the scope and extent of the
                                                           insurer's duty to defend. Lennar Corp. v. Auto-
  The accrual of the right to indemnity is important       Owners Ins. Co., 214 Ariz. 255, 260, ¶ 11, 151 P.3d
  here ... to illuminate a basic principle of indem-       538, 543 (App.2007); Cal. Cas. Ins. Co. v. State
  nity. The right exists when there is a legal obliga-     Farm Mut. Auto. Ins. Co., 185 Ariz. 165, 168, 913
  tion on the indemnitee to pay or a sum is paid by        P.2d 505, 508 (App.1996). Application of that prin-
  him for which the indemnitor should make reim-           ciple here underscores the importance and signific-
  bursement. Such an obligation or sum cannot be           ance of the “to the extent” limitation in this indem-
  imposed solely by a third party's unproven allega-       nity provision.
  tions against the indemnity parties, but requires
  factual determinations.                                       ¶ 27 MT Builders argues conditioning a sub-
                                  FN13
  Id. at 253, 722 P.2d at 980.          Although we        contractor's duty to defend on a determination of
  noted the duty to defend “arises at the earliest         the extent of its fault would be “absurd” because
  stages of litigation,” id. at 255, 722 P.2d at 982,      the general contractor might have to wait “months
  we made that statement in the context*307 **768          or years” before receiving a defense. MT Builders
  of addressing and rejecting the carrier's argument       makes a good point; as a practical matter, an in-
  that its duty to indemnify was comparable to a li-       demnity provision obligating a subcontractor to de-
                                    FN14
  ability insurer's duty to defend.       We did not       fend the general contractor but imposing such a
  suggest an indemnitor and a liability insurer            limitation might end up being of little value-by the
  should be treated the same, and we did not dis-          time the extent of the subcontractor's fault has been
  cuss whether an indemnitor must immediately de-          determined, the general contractor might no longer
  fend its indemnitee when the indemnity provision         need a defense. But this case does not present such
  does not require the indemnitor to do so and lim-        a situation; we are not dealing with an indemnity
  its indemnification to the extent of the indemnit-       provision that requires the indemnitor to defend its
  or's fault.                                              indemnitee. Parties are free to contract, Smith v.
                                                           Saxon, 186 Ariz. 70, 73, 918 P.2d 1088, 1091
        FN13. Accordingly, we concluded the E              (App.1996), and they can agree the indemnitor will
        and O carrier and the agent were only en-          only be under a duty to reimburse the indemnitee's
        titled to recover defense costs attributable       defense costs, and only then to the extent of the in-
        to claims against the agent that entitled          demnitor's fault. That is the case here.
        him to indemnity, and had to bear those
        costs related to claims against the agent for      C. Preclusion
        only his own wrongdoing. 150 Ariz. at                   [19] ¶ 28 Relying on Cunningham v. Goettl Air
        255, 722 P.2d at 982.                              Conditioning, Inc., 194 Ariz. 236, 980 P.2d 489
                                                           (1999), and Damron v. Sledge, 105 Ariz. 151, 460
        FN14. In discussing the cases cited by the         P.2d 997 (1969), MT Builders argues its settlement
        carrier, we stated “[i]t is true that the ob-      with the Association barred Fisher from disputing
        ligation to indemnify may be satisfied             the existence and extent of its indemnity liability to
        either by defending the indemnitee or by           MT Builders. We disagree.
        paying the indemnitee's costs of defense if
        the claim is covered by the indemnity                   ¶ 29 In Cunningham, our supreme court dis-
        agreement. ” 150 Ariz. at 254, 722 P.2d at         cussed when a stipulated judgment in favor of a
        981 (emphasis added).                              third person and against an indemnitee could bind




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the indemnitor. Applying Restatement (Second) of               ¶ 32 Therefore, although Fisher failed to accept
Judgments § 57 (1982), the court held that when an         MT Builders' tender of defense, Fisher's refusal to
indemnity obligation exists, an indemnitor will be         do so did not bar it from contesting its own fault
barred from disputing the existence and extent of its      and whether it was under an obligation to indemni-
indemnitee's liability to a third person if the indem-     fy and hold MT Builders harmless from the loss it
nitor had reasonable notice of the third person's ac-      sustained when it settled the Association's Fisher-
tion, refused to assume or participate in the indem-       based claims.
nitee's defense and the indemnitee defended the ac-
tion with due diligence and reasonable prudence.           D. Reasonableness
194 Ariz. at 240, ¶ 19, 980 P.2d at 493. The indem-             [20] ¶ 33 Although Cunningham and Damron
nitor will also be barred from relitigating issues de-     do not, as MT Builders argues, hold an indemnitee's
termined in the action against the indemnitee. Id.         settlement with a third party will control the exist-
                                                           ence and extent of the indemnitor's indemnity liab-
     ¶ 30 In Damron, the court discussed whether a         ility, they are in accord with the approach taken by
default judgment could bind an insurer that refused        many courts regarding the right of an indemnitee to
to defend its insured in a tort action. The insured        recover against an indemnitor when, as here, before
settled the case, assigned to the plaintiff any rights     liability is determined, the indemnitee settles an ac-
he had against the insurer for bad faith in refusing       tion against it by a third party. Under this approach,
to defend, withdrew his answer and “let the case go        subject to an important qualification we discuss be-
by default” in exchange for a covenant not to ex-          low, see infra ¶ 35, when an indemnitee settles a
ecute. 105 Ariz. at 152-53, 154, 460 P.2d at 998-99,       lawsuit covered by an indemnity agreement, it may
1000. The court stated that, absent fraud or collu-        obtain indemnity from its indemnitor if it gave the
sion, the default judgment could be enforced               indemnitor notice of the action and an opportunity
against the insurer because an insurer refusing to         to defend and demonstrates the decision to settle
defend “must accept the risk that an unduly large          was, under the circumstances, reasonable and
verdict may result from lack of cross-examination          prudent. S. Ry. Co., 823 F.2d at 480; Atl. Richfield
and rebuttal.” Id. at 155, 460 P.2d at 1001.               Co. v. Interstate Oil Transp. Co., 784 F.2d 106,
                                                           110-13 (2nd Cir.1986); Consol. Rail Corp. v. Ford
     ¶ 31 Neither case supports MT Builders' argu-         Motor Co., 751 F.Supp. 674, 676 (E.D.Mich.1990);
ment that its settlement with the Association de-          Stone Bldg. Co. v. Star Elec. Contractors, 796
termines the existence and extent of Fisher's indem-       So.2d 1076, 1090 (Ala.2000); Grand Trunk W.
nity liability. The issue in *308 **769 each case          R.R., Inc. v. Auto Warehousing Co., 262 Mich.App.
was whether a judgment in favor of a third person          345, 686 N.W.2d 756, 763-64 (2004); CIGNA
and against the indemnitee/insured could bind the          Corp. v. Lincoln Nat'l Corp., 6 A.D.3d 298, 775
indemnitor/insurer from contesting the existence           N.Y.S.2d 303, 304 (2004); Valloric v. Dravo Corp.,
and scope of the indemnitee/insured's liability to         178 W.Va. 14, 357 S.E.2d 207, 211-14 (1987); 41
the third person. Neither case held the judgment           Am.Jur.2d Indemnity § 46 (1995). If the indemnitee
barred the indemnitor/insurer from contesting its          satisfies these conditions, it may obtain indemnity
own liability to its indemnitee/insured. See infra ¶       without having to show it was actually liable to the
35. Indeed, the supreme court in Cunningham ex-            third person; it need only show its potential liabil-
plicitly recognized the agreement between the in-          ity. We believe this approach is sound, workable
demnitor and indemnitee, not the stipulated judg-          and consistent with Arizona law. See United Servs.
ment, determined the extent of the indemnitor's li-        Auto. Assoc. v. Morris, 154 Ariz. 113, 120, 741
ability to its indemnitee. 194 Ariz. at 242, ¶ 27, 980     P.2d 246, 253 (1987) (insurer will be bound by stip-
P.2d at 495.                                               ulated judgment reached pursuant to settlement




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made by insured if insured gave insurer notice and        bearing on the liability and damage aspects of
opportunity to defend, but only to the extent settle-     claimant's case, as well as the risks of going to tri-
ment was reasonable and prudent under the circum-         al.” 154 Ariz. at 121, 741 P.2d at 254 (citation
stances; such an approach “accords with general           omitted). Whether a settlement meets this standard
principles of indemnification law”). Accordingly,         requires the finder of fact to evaluate the facts per-
we adopt it here.                                         taining to liability, the claimed damages, and the
                                                          risks of going to trial and to compare these facts
     [21] ¶ 34 This approach is subject to an import-     with the nature and size of the settlement. As recog-
ant qualification: the indemnitee is only entitled to     nized in       Trim v. Clark Equipment Co., 87
indemnity if the third party's action was covered by      Mich.App. 270, 274 N.W.2d 33, 36-37 (1978), a
the indemnity agreement. Cunningham, 194 Ariz. at         case cited with approval in Morris, the reasonable-
242, ¶ 27, 980 P.2d at 495 (language of indemnity         ness of
agreement determines extent of indemnitor's liabil-
ity to its indemnitee). The indemnitor is still en-         the settlement consists of two components which
titled to challenge whether the indemnity provision         are interrelated. The fact finder must look at the
was applicable to the action. S. Ry. Co., 823 F.2d at       amount paid in settlement of the claim in light of
480-81 (“[I]f the indemnitee reasonably settled with        the risk of exposure. The risk of exposure is the
the injured party, but the injury is not covered by         probable amount of a judgment if the original
the indemnity agreement, then the indemnitor is not         plaintiff were to prevail at trial, balanced against
liable to the indemnitee. Thus, the question of the         the possibility that the original defendant would
coverage of the indemnity contract between [the             have prevailed. If the amount of the settlement is
parties] remains to be decided.” (footnote omit-            reasonable in light of the fact finder's analysis of
ted)); Consol. Rail Corp., 751 F.Supp. at 676 (when         these factors, the indemnitee will have cleared
enforceable indemnity contract exists and indemnit-         this hurdle. The fact that the claim may have
or has refused seasonable tender of defense along           been successfully defended by a showing of con-
with notice that a settlement will be reached, in-          tributory negligence, lack of negligence or other-
demnitee must “further show: (1) that the fact situ-        wise, is but a part of the reasonableness analysis
ation of the original claim was covered by the con-         and, therefore, subject to proof.
tract of indemnity, and (2) that the settlement was
reasonable”); Valloric, 357 S.E.2d at 214                     (Citations omitted.)
(“indemnitee must in his indemnity suit show that
                                                               [27][28] ¶ 36 The burden is on the indemnitee
the original claim is covered by the indemnity
                                                          to show its settlement was reasonable and prudent.
agreement”).
                                                          Id. at 36; Valloric, 357 S.E.2d at 214; cf. Morris,
     [22][23][24][25][26] ¶ 35 Whether an indem-          154 Ariz. at 120, 741 P.2d at 253; Himes v. Safe-
nitee's decision to settle is reasonable and prudent      way Ins. Co., 205 Ariz. 31, 36-37, ¶ 12, 66 P.3d 74,
*309 **770 under the circumstances will normally          79-80 (App.2003). Evidence relevant to this show-
present a question of fact. In Morris, our supreme        ing will depend on the circumstances. In Himes, we
court explained what this standard meant in the in-       discussed what evidence would be relevant to de-
surance context; we find its explanation appropriate      termining whether a stipulated judgment entered
in the indemnity context: “The test as to whether         pursuant to a settlement between an insured and a
the settlement was reasonable and prudent is what a       third party was reasonable after the insurer al-
reasonably prudent person in the insureds' position       legedly breached its duty of equal consideration.
would have settled for on the merits of the               Relying on Morris, we stated the “key test” was
claimant's case. This involves evaluating the facts       “whether the evidence would assist the reasonably
                                                          prudent person, acting as though the person were




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dealing with sufficient funds from his or her own          ciation's experts had determined would be needed
pocket, in determining what a reasonable settlement        to repair all of the construction defects, $1,756,297
amount would have been.” 205 Ariz. at 42-43, ¶ 37,         and $7,408,264, respectively, its settlement with the
66 P.3d at 85-86. We identified a number of non-           Association was non-collusive, non-fraudulent, fair
exclusive factors:                                         and reasonable. MT Builders' and the Association's
                                                           experts had also estimated it would take at least
  [T]he releasing person's damages; the merits of          $86,000 and $856,000, respectively, to repair the
  the releasing person's liability theory; the merits      roofs. Fisher and the two other remaining subcon-
  of the released person's defense theory; the re-         tractors opposed MT Builders' motion.
  leased person's relative faults; the risks and ex-
  penses of continued litigation [on the merits]; ...           ¶ 39 The superior court granted MT Builders'
  any evidence of bad faith, collusion, or fraud; the      motion “in its entirety” (“2004 indemnity ruling”).
  extent of the releasing person's investigation and       The court ruled, contrary to what we are now hold-
  preparation of the case; and the interests of the        ing in this opinion, that “[t]he subcontractors' duties
  parties not being released.                              to defend and indemnity [sic] [were] not dependent
                                                           upon an ultimate finding of negligence.” Although
     Id. at 42, ¶ 33, 66 P.3d at 85 (quoting Chaussee      the court did not specifically find MT Builder's set-
v. Md. Cas. Co., 60 Wash.App. 504, 803 P.2d 1339,          tlement of the Association's claims was reasonable,
1343 (1991)). Although Himes is an insurance case,         it found the subcontractors were “bound by MT
its discussion of the type of evidence relevant to de-     Builders' settlement and [were] not excused by any
termining when a settlement is reasonable is               of their several arguments seeking excusal.” There-
equally applicable to a determination of the same          after, in the normal course, the case was assigned to
issue in an indemnity case.                                a different division of the superior court and thus to
                                                           a different superior court judge.
    ¶ 37 With these principles in mind, we turn to
Fisher's argument that fact issues regarding the ex-            ¶ 40 Pursuant to the 2004 indemnity ruling, MT
tent of its fault and the reasonableness of MT             Builders asked the court to enter a judgment on its
Builders' settlement with the Association precluded        indemnity claim against the three subcontractors in
summary judgment.                                          the amount of the settlement sum. It also sought re-
                                                           imbursement for the attorneys' fees, litigation-re-
III. Fact Issues
                                                           lated expenses (including expert witness fees) and
A. Background                                              court costs it had incurred in defending against the
                                                           Association's claims as well as an award of the fees
     ¶ 38 After MT Builders had settled or other-          and costs it had incurred in pursuing its indemnity
wise resolved its indemnity claims against all but         claim. In a series of orders, the court essentially re-
Fisher and two other subcontractors, it moved for          considered much of the 2004 indemnity ruling and
summary judgment against Fisher and the two re-            held that, to obtain what the parties began to call
maining subcontractors (“2003 motion”) and asser-          “indemnity damages” and to recover the expenses it
ted an argument we have rejected in this opinion-          had incurred in defending against the Association's
that the subcontractors were barred from disputing         claims, MT Builders would have to prove the extent
their liability under the indemnity provision and          of Fisher's fault, that is, causation and negligence.
were bound by the settlement because they had
failed to accept MT Builders' tender *310 **771 of              ¶ 41 After further briefing by the parties, the
defense. MT Builders also argued that because the          court found MT Builders had incurred $525,082 in
settlement sum was less than what its and the Asso-        expenses (attorneys' fees, expert witness fees, other
                                                           litigation-related expenditures and court costs) in




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defending against the Association's claims and in          ample evidence of the defects attributable to Fish-
pursuing its indemnity claim. Apparently adopting          er's work and *311 **772 what portion of the set-
a suggestion submitted by one of the other subcon-         tlement sum should be allocated to its settlement of
tractors, the court determined that because MT             the Fisher-based claims. It also identified witnesses
Builders had originally sought indemnity from 19           who could testify regarding the reasonableness of
different subcontractors, each of the three remain-        the settlement and asserted it had reasonably defen-
ing subcontractors would be required to indemnify          ded the Fisher-based claims by hiring experts who
MT Builders for 1/19th of that portion of the              had investigated the claims and by actively parti-
$525,082 pertaining to MT Builders' pre-settlement         cipating in written discovery.
expenses ($439,817) and, because only the three
subcontractors remained in the case after the settle-           ¶ 44 In its motion, MT Builders argued the
ment, 1/3rd of its post-settlement expenses                amount of money the Association had actually
($85,265). After Fisher and the two other subcon-          spent in 2004 on roof reconstruction and repairs,
tractors objected to a form of judgment lodged by          $240,523, constituted the best evidence of what
MT Builders, the court realized it had not resolved        portion of the settlement sum should be attributable
the allocation and amount of indemnity damages             to Fisher's work and its settlement of the Fisher-
that should be assessed against the subcontractors.        based claims. Asserting untimely disclosure, it also
                                                           asked the court to prohibit Fisher from disputing
     ¶ 42 Subsequently, the court ruled genuine is-        this evidence by relying on a report and affidavit
sues of material fact existed regarding each subcon-       from a roofing defect expert, Gene Lawrence. In his
tractor's “liability to indemnify MT Builders for          report and affidavit, Lawrence described the defects
damages directly resulting from the specific defect-       as the type “usually corrected by a punch list pro-
ive performance of” each particular subcontractor.         cess,” and stated the total reasonable repair cost
The court set the matter for trial. The issue identi-      would be “in the vicinity of $32,000.” He further
fied by the court, however, was never tried. MT            stated that if the Association's roofing claims had
Builders settled with the two other subcontractors,        been included in MT Builders' settlement with the
and the court resolved the issue as to Fisher based        Association, “only a small amount of this settle-
on competing motions for summary judgment filed            ment amount should have been allocated to resolve
by Fisher and MT Builders.                                 the roof issues.”

     ¶ 43 In its motion, Fisher argued MT Builders              ¶ 45 Disputing the late disclosure accusation,
had failed to disclose any evidence and thus could         Fisher requested permission to use Lawrence's
not prove at trial, first, how much it had actually        opinions at trial. It further argued the amount ulti-
paid to settle the Fisher-based claims; second,            mately paid by the Association for roof repairs was
whether it had reasonably defended the Fisher-             irrelevant because MT Builders was required to
based claims; and third, whether the sum it had paid       prove what amount it had actually paid to settle the
to settle the Fisher-based claims was reasonable. In       Fisher-based claims and whether that amount was
response, MT Builders argued the court had de-             reasonable.
cided the “reasonableness” issue in its 2004 indem-
nity ruling, see supra ¶ 40, but even if the issue had          ¶ 46 The court granted MT Builders' motion
                                                                                           FN15
not been decided, the settlement was reasonable,           and denied Fisher's motion.            It ruled: “Mt
again noting the settlement sum was less than what         [sic] Builders has presented competent admissible
the experts had estimated would need to be spent to        evidence of the full amount of damages it suffered
repair all of the construction defects, see supra ¶        as a result of Fisher Roofing's negligence. Fisher
39. It further argued these cost estimates provided        Roofing has failed to present any competent ad-
                                                           missible evidence to establish that the repairs or the




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amount paid for them were unreasonable.”                           garding what the Association had paid to
                                                                   make roof repairs was not probative evid-
         FN15. Although the court did not expli-                   ence of its fault. On the record presented to
         citly rule on the nondisclosure charge, it                the superior court, we cannot conclude
         referred to the Lawrence report in denying                Fisher abandoned its right to contest in-
         Fisher's request for clarification.                       demnity liability.

    ¶ 47 Subsequently, the court rejected Fisher's         B. Fact Issues
request that it clarify its ruling because triable is-         ¶ 48 We disagree with the superior court-
sues of fact remained regarding Fisher's alleged           genuine issues of fact remained to be tried before
negligence:                                                MT Builders was entitled to indemnity from Fisher.
                                                           FN17
                                                                  The court should not, therefore, have granted
  Fisher Roofing's own expert provided a report de-
                                                           MT Builders summary judgment. We begin with
  tailing the roofing defects and necessary repairs.
                                                           what we *312 **773 have called in this opinion
  MT Builders ... provided the Court with a de-
                                                           “fault”-that is, causation and negligence.
  tailed summary of the actual roofing repairs made
  and the costs thereof.... Nowhere in its opposition              FN17. “In reviewing a motion for sum-
  to MT Builders' motion or at the oral argument of                mary judgment, we determine de novo
  the same did Fisher ever suggest or support a                    whether any genuine issues of material fact
  suggestion that there remained any material is-                  exist.” Brookover v. Roberts Enters., Inc.,
  sues of fact as regards its liability; Fisher chose              215 Ariz. 52, 55, ¶ 8, 156 P.3d 1157, 1160
  only to contest the reasonableness and necessity                 (App.2007).
  of the roofing repairs without competent admiss-
                                          [FN16]
  ible evidence to support their defense.                       [29] ¶ 49 As discussed above, MT Builders was
                                                           entitled to indemnity “to the extent” its losses and
                                                           expenses were caused in whole or in part by Fish-
         FN16. In refusing to clarify its ruling, the
                                                           er's negligence. Although MT Builders presented
         court stated Fisher had failed, in both its
                                                           the court with evidence that some of Fisher's work
         written and oral responses to MT Builders'
                                                           had been defective and negligently performed, the
         motion, to suggest fact issues existed re-
                                                           court was presented with conflicting evidence re-
         garding its liability. We disagree with the
                                                           garding the extent and nature of the alleged defects
         court's assessment of the record.
                                                           and negligence. As Fisher points out, in its sum-
         Throughout the course of this litigation,
                                                           mary judgment motions MT Builders relied on in-
         Fisher had argued MT Builders was not en-
                                                           formation concerning Fisher's work developed by
         titled to indemnity without proving fault. It
                                                           the Association's experts that not only conflicted
         reminded the court of its position by quot-
                                                           with MT Builders' experts, but also conflicted with
         ing from prior rulings of the court in its
                                                           Fisher's expert who considered the defects to be of
         briefing on its “reasonableness” motion
                                                           the “punch list” variety and de minimus in nature.
         which the court considered at the same
                                                           The repair cost estimates developed by these com-
         time it considered MT Builders' motion
                                                           peting experts reflected this conflict, ranging from
         (indeed, the parties' briefing on the two
                                                           the Association's high of $856,223, to MT Builders'
         motions overlapped). Further, Fisher poin-
                                                           $86,000, to Fisher's low of “in the vicinity” of
         ted out the shifting positions taken by MT
                                                           $32,000. The evidence showing what the Associ-
         Builders about the amount of its indemnity
                                                           ation actually spent on roof repairs in 2004,
         damages, and thus the extent of its fault,
                                                           $240,523, only added to the confusion regarding
         and also argued MT Builders' evidence re-
                                                           the extent of Fisher's alleged fault and, thus, the




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losses incurred by MT Builders that could be attrib-       information regarding the strengths and weaknesses
uted to Fisher's fault and allocated to its settlement     of those claims. Even if the overall settlement
of the Fisher-based claims.                                reached by MT Builders with the Association was
                                                           reasonable and prudent under the circumstances, to
     ¶ 50 To obtain indemnity, MT Builders was re-         obtain indemnity from Fisher, MT Builders was re-
quired to prove the extent of Fisher's fault and what      quired to show that its settlement of the Fisher-
portion of the settlement sum was attributable to          based claims met this test. On this issue, based on
that fault. The evidence it presented on these issues      the evidence presented to the superior court, MT
was in conflict, and it was not, therefore, entitled to    Builders was not entitled to summary judgment. We
summary judgment.                                          therefore remand this case to the superior court for
                                                           further proceedings consistent with this opinion.
     ¶ 51 Further, as discussed above, MT Builders
was not entitled to indemnity unless it demonstrated       IV. Fees, Expenses and Costs
the amount it had paid to settle the Fisher-based              ¶ 53 On appeal, Fisher has challenged various
claims was reasonable and prudent under the cir-           aspects of the superior court's rulings regarding MT
cumstances. Whether a settlement meets this stand-         Builders' right to recover the fees, expenses and
ard requires the finder of fact to evaluate the facts      costs it incurred in defending against the Associ-
pertaining to liability, the claimed damages, and the      ation's Fisher-based claims. Because certain of
risks of going to trial and to compare these facts         these issues are likely to arise on remand, we ad-
with the nature and the size of the settlement. See        dress them now.
supra ¶ 36. Here, the nature and size of MT Build-
ers' settlement of the Fisher-based claims was a                **774 *313 ¶ 54 Fisher first argues it disputed
moving target and the court was never in a position        the amount of attorneys' fees, expenses and costs
to make this comparison.                                   MT Builders actually incurred ($439,817) in de-
                                                           fending against the Association's claims. See supra
     ¶ 52 Although the repair estimates and the            ¶ 42. We disagree. The record reflects MT Builders
amount the Association spent to repair the roofs           provided the court with detailed information re-
constituted probative evidence regarding the dam-          garding the fees, expenses and costs it had incurred.
ages caused by Fisher's fault, see Heppler v. J.M.         Although Fisher objected to MT Builder's entitle-
Peters Co., 73 Cal.App.4th 1265, 87 Cal.Rptr.2d            ment to these fees, expenses and costs, asserting the
497, 514 (1999), that evidence is just one factor in       court could not award them without first determin-
the matrix of facts that need to be considered by the      ing what portion was related to Fisher's fault, Fisher
finder of fact in deciding whether a settlement is         never contested any of the amounts comprising the
reasonable and prudent. See supra ¶ 37. MT Build-          $439,817. On remand, MT Builders does not need
ers did not present the court with evidence regard-        to re-prove this amount.
ing many of the other considerations that come into
play in deciding this issue-such as the merits or de-           ¶ 55 Under the indemnity provision, however,
merits of the Association's liability theories, pos-       MT Builders' recovery of its fees, expenses and
sible defenses to the Association's Fisher-based           costs is limited to those expenditures “arising out of
claims, possible “faults” of the Association or of         or resulting from” Fisher's work under the subcon-
the other subcontractors who might have contrib-           tract “to the extent caused in whole or in part” by
uted to the roof problems, and the risks and costs of      Fisher's negligence. The court will need to allocate
going to trial. Although the record before the super-      or apportion the fees, expenses and costs accord-
ior court reflected MT Builders' counsel had invest-       ingly. The parties have not addressed how the court
igated, litigated and defended the Fisher-based            should do this. Other courts, when applying identic-
claims, the court was provided with no meaningful          al or virtually identical indemnity provisions, have




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awarded defense costs based on the same percent-           yet to prevail, we deny their requests with leave to
age of fault attributed to the indemnitor for the          the superior court to consider awarding the prevail-
plaintiff's injuries. See, e.g., Nusbaum, 100 S.W.3d       ing party the attorneys' fees it incurred on appeal.
at 108-09; Dillard, 884 S.W.2d at 725 (applying            However, Fisher is entitled to an award of costs on
Kansas law). On remand the superior court is free          appeal pursuant to A.R.S. § 12-341 (2003) upon its
to adopt this approach or any other approach con-          compliance with Arizona Rule of Civil Appellate
sistent with the requirements of the indemnity pro-        Procedure 21.
vision.
                                                                              CONCLUSION
     [30] ¶ 56 Fisher next argues the indemnity pro-           ¶ 59 For the foregoing reasons, we affirm in
vision did not allow MT Builders to recover expert         part and reverse in part the superior court's judg-
witness fees because such fees are not considered          ment and remand for further proceedings consistent
recoverable court costs under A.R.S. § 12-332              with this opinion.
(2003). Fisher misreads the indemnity provision,
and MT Builders is entitled to recover expert wit-         CONCURRING: DONN KESSLER and JOHN C.
ness fees. The indemnity provision did not limit in-       GEMMILL, Judges.
demnity to court costs; it authorized indemnity for
                                                           Ariz.App. Div. 1,2008.
“all claims, damages, losses and expenses, includ-
                                                           MT Builders, L.L.C. v. Fisher Roofing, Inc.
ing but not limited to attorney's fees and court
                                                           219 Ariz. 297, 197 P.3d 758, 543 Ariz. Adv. Rep.
costs.”
                                                           21
     ¶ 57 Fisher finally argues MT Builders is not
                                                           END OF DOCUMENT
entitled to recover fees and costs for pursuing its in-
demnity claim under either the subcontract or
A.R.S. § 12-341.01 (2003). The subcontract re-
                             FN18
quires a “prevailing party”         and the statute re-
quires a “successful party.” Because we have re-
versed the summary judgment originally awarded in
MT Builders' favor, it no longer is the prevailing or
successful party and is not, at this time, entitled to
an award of fees and costs under either the subcon-
tract or the statute.

         FN18. MT Builders' subcontract with Fish-
         er provided: “In the event either party of
         this Agreement shall institute an action to
         enforce any provisions hereof, the prevail-
         ing party shall be entitled to recover from
         the losing party such additional sum as the
         court may adjudge as reasonable costs, in-
         cluding attorneys' fees, in connection with
         such suit.”

V. Attorneys' Fees and Costs on Appeal
     ¶ 58 Both parties have requested an award of
attorneys' fees on appeal. Because neither party has




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